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                                                              Copy of the Eleclronic Onginal® documl:lnl managed by the eCore® On Demand (EOO" ') Service.
       DocuSign Envelope ID: Cl81A7BB6-987A-4755 905F-0243F336436F

        CUSTOMER COPY                          NOTICE OF CANCELLATION

         Arete Financial LLC             Oats of Transaction: 1 0/261201 7
         Customer Name DARRELLE THOMPSON
         Tracking Number 1 ! 7788


         You may concel this transaction, withoul any penalty or obligation within 3 business days from the above date. (Alaska Residents 5 days)


         If you cancel, any property traded In, any payments made by you under the contract or sale, and any negoliable instmment
         executed by you will be returned within 1 0 business days follow!ng receipt by the seller of your cancellation notjoo, and any
         security Interest arising out of the transaction will be cancelled.


         If you canci, you rnu�t make available to the seller at your residence, in substantially as good comfition as when received,
         any goods/services delivered to you under this contract or sate; or you may if you wish, comply ,'.ith the instructions of the seUer
         regarding the return shipment of the/prvtis at the seller's expense and risk.


         If yoo do m,ke Uw goodsl$o«jJ.11,b1,          J   ,oll{,� �'!ot•i"f ..,,✓,, wi�ITT ,Pa�                                                        '\�-ri-
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         notice of cance!lalion. you may   retl�r dispose}' *�\good. ts�; wit)h� any{ur�ir obllgat10{ 1\you f�il lo mli
                                                                                                                    J                                                    the goods
         available to the seller. or rr you a g ree{�� go��'l!l))C8S            �, �r and [�1; (o do so, lhen\1Q��-J:..'J)ain !(,
         performance of all obligations und;,r the contract.                    !                           r- ---j ·
                                                                               �                            '-.../


         To cancel this transaction, mail or deliver a signed and dated copy of this cance!latfon notice or any other wlit1en notice, or
         send a telegram to


         Arete Financial LLC
         1 261 E. Dyer Road
         Santa Ana, CA 92705
                                                                           0                                         r.                                            ../'

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         (338) 988 9274                      ,� \'\
                                                                'i -<'l<�) :·
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         Not later than midnight of 1 0/301101(1           \_                                                           I   ":· ✓.::::.:·\         /-;-....__ "


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         •"( If Alaska 1 1/0 1/201 7)       \ \              \_))
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                                               '-... - --/       c..::'.�   �                  - --- '              � �:::) c::.._::;i \____            ./'\.. /   � - --�
         I HEREBY CANCEL THIS TRANSACTION                                                 /                 -') )
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                                                                                                     ___- _--;/
         __,
                                                                                             ...
               ,___.      _ (DATE)                                                                                                ____ (PURCHASER'S SIGNATURE)




                                                                                                                                                                                     II
                               The original document is owned by Equitable Acceptance and this copy was crna\ed on Oct 26, 201 7 0 1 :30;17 PM.




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                       Attachment C
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          on 0 1 /05/ 2018


          * Deferred Terms *
          To avoid any fi nance charges your accou nt must be paid in full and posted by 1 1 / 25/20 1 7


                                                                  Notice

          o Be s u re to send your statement tab w ith each payment, I n cl ude your acco u n t nu m ber
            whenever writing us.
          o For notifications of change of a dd ress fil l i n the section on the retu rn portio n of th e
            statement marked 'cha nge of add ress ' .
          o You r serv i ce/prod ucts m a y come from d i fferent suppl iers. Please a l low 2 0 d a y s from
            the date of th is letter before contacti n g this office in reg a rds to product/service
            q uesti o n s . If you have not received a ll of your prod u cts/service please notify us i n
            w riti ng at : P. O . Box 2 7007 M i n neapolis, M N 5542 7 .
          o The Federal Equal Cred it Opportun ity Act p ro h i bits creditors fro m d iscri m i n ation
            a g a i nst a pplica nts on the basis of sex or marital status, The Federa l agency, wh ich
            a d m i n i sters com p l i a nce with th is law concerning this com p a n y, is the Federal Tra de
            Com m issio n ,
          o I f for s o m e reason y o u d o not receive a b i l l ing statement, you r payment i s sti l l d u e ,
            Please keep a record o f o u r add ress a n d a dvise th i s offi ce if y o u do not get a bi l l .

                         Eq u ita ble Accepta nce Corp . , PO Box 2 7 0 0 7 , M i n n eapol is, M N 5 54 2 7

                                      SafeUnsu bscrlbe ' M mrsdmthompson @':_yahoo . com
                                          lJRdate Profi le   I   About o u r service Qrovider
                                Sent by i n fo@.filluitableacceQta nce . com i n coll aboration wlth


                                                 Constant Contact , ,1-•
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 •   •

         Creditor                                                               Acco unt #                           Amou nt Owed
         FFEL CONSOLI DATED                                                                                          $0.00
         FFEL STAFFORD SUBS I D IZED                                                                                 $0.00
         F F EL STAFFORD UNSUBS I D IZED                                                                             $0 .00
         FFEL STAFFORD U N SUBSIDIZED                                                                                $0 . 00
         FFEL STAFFORD SUBSI DIZED                                                                                   $0 .00
         FFEL STAFFORD S U BSIDIZED                                                                                  $0.00
         FFEL STAFFORD UNSUBSI DIZED                                                                                 $0.00
         FFEL STAF F ORD U N SU BS ID IZED                                                                           $0.00
         FFEL STAFFORD S U B S I D IZED                                                                              $0 . 00
         FFEL STAFFORD U NSUBS I DIZED                                                                               $0 .00
         FFEL STAFFORD SUBSIDIZED                                                                                    $0.00
         FFEL STAF FORD S U BS I D IZED                                                                              $0 .00
                                                                                                                     $51 ,81 3.00


         Approved Program: Public Service Loan Forgiveness - Only

         Program Maturity Savings: $51 ,81 3.00


         The William D. Ford Direct Loan program is an initiative by the federal government to help subsidize the 1.2 trillion-dollar student
         loan debt in the U. S. Borrowers under these income based programs significan tly reduce their paymen ts and eventually
         even reach poss;bfe forgiveness based off of eligibility requirements.


         The process from beginning to end takes approximately 2 1 -45 days.

         In order to stay compliant in your program you must maintain the following:

             • Submit required income documentation to processing within 5 business days of enrollment.
             • Send updated documents to the processing department in a timely manner (i . e . , paystubs , tax returns, paperwork
               correspondence, lender correspondence, etc . .. ).

             • Maintain program management costs and monthly payments.

                                                           Customer Service Department

                                                              Toll Free I (888) 331 -5827
           THIS E-MAIL MAY CONTAIN NON-PUBLIC, CONFIDENTIAL INFORMATION , PRIVILEGED OR OTHERWISE LEGALLY PROTECTED FROM UNAUTHORIZED
          DISCLOSURE . IF YOU ARE NOT THE INTENDED RECIPIENT, ANY DISCLOSURE. COPIES, DI STRIBUTION, OR ACTIONS IN RELIANCE ON THE CONTENTS
          OF THI S E-MAIL IS PROHIBITED. PLEASE PROMPTLY NOTIFY SENDER IF YOU HAVE RECEIVED THIS E-MAIL IN ERROR AND DELETE IT FROM YOUR E­
          MAILS CONFIDENTIAL INFORMATION. PRIVILEGED OR OTHERWISE LEGALLY PROTECTED FROM UNAUTHORIZED DISCLOSURE. IF YOU ARE NOT THE
            INTENDED RECIPIENT. ANY DISCLOSURE , COPIES, DISTRIBUTION OR ACTIONS IN RELIANCE ON THE CONTENTS OF THIS E-MAIL IS PROHIBITED
                       PLEASE PROMPTLY NOTIFY SENDER I F YOU HAVE RECEIVED THIS E-MAI L IN ERROR AND DELETE IT FROM YOUR E-MAILS




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                     Attachment D
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                      >    Main Navigation     Servicer Notes
                      1[l Oast,IJOOl'd
                                               03120/201 8 06 02 pm by Ashley Azevetio
                             Profile
                                                                                                                                                                                                                                                                         #:970




                      �                        Oar el le Your !NCOME-O R I VE N REPAY MENT PLAN RECALCULATED Account Number 65 4933 6559 We recalculatect your monil1ty oaymert for your Revised Pa; As You
                      �1 Loan s                Earn , REPAVE} p lan We usea you, income, ctocumentation and family size rn determine your mon:hr; payment of �9S 87 whtch ,s first due on 0 3i't 9l20 1 3 Your new monthly
                                               paymen1 amount 1s effe ctive fo r all pay ment:c due between 03/ 1 9.120 1 8 and 03/0112 0 1 9 Yo u are st ll re-spons1hle for any payments due lletore 0)/ 1 9/20 1 8 Aoout 3 months
                          t.l> Progrnrns       pnor rn 03/0 1.120 1 9 lf , ou !lave any queslions p,ease do�'i hes1iate to comaci me Tha ni, You Ashley Azevedo Processing D epartmeni Arete FIna11c1a! Freeoom I Student
                                               Loon Pnor,e: H: 83-33 1 -5827 e:,t 1 062 Fa,;: 1 -888-366-22 1 9 1261 E.Dyer Rd ?100 • Santa Ana, CA 92705 Notified
                      i�     Documents

                             Servicer Notes
                                               0211 3 · 20 1 8 06 54 pm t•y Je rico Saavedia
                      L1LI Payments
                                               H1 Darrelle! Th,e 1, Rico w1tn ;. rnte F i�ancial giv,ng y ou an update on your student !oans Your Incom e Dnven Repayment applicat1on has been su bmitted and v�II take up to
                      ,,     Payment Method    90 days 10 comule!e \Ne will contact �ou ii we ma, need a d,litIonal lnlormai1on or cocuments io complele tha consol1dai 1on Please wllrnii a r equest in Ille ''Send a Request
                                               tall 11 yoll n ave any quesi•on·; or concerns Tn anl\, l
                      q       Send A Request

                       ' Change Password
                      �J                       1 0 1 3 1 . 20 1 7 06 24 prn b}' Asn ley Azevedo
                      0      Logout            Darrel e. Your con so,1dalto n llas been submitted as of 1 0/3 1 /2017 Al itus perm there 1, nothing mis sing on y our account if you !lave any additional questions please contad
                                               me Thank You Ashioy ,',z,,vedo Processing Department Arnie F111anc,a l Freedom r Stu dent Loan Phone 1 -888- 33 1 -5827 ext 1 002 Fa�: 1 -&88-306- 22 1 9 1 26 1 E. Dyer
                                               Rd 11 1 00 • Santa Ana. CA 92705
                                                                                                                                                                                                                                       Case 8:19-cv-02109-JWH-ADS Document 29-1 Filed 11/04/19 Page 11 of 55 Page ID




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         Borrower's Name Darrelle Thompson                                                                        Social Securil)< Number _______________
         LOANS YOU ANT TO CONSOLIDATE


         Read the Instructions before completing this section. list each federal education loan that you want to consol!date, induding any Direct. loan Program loans that
         you want to include in your Direct Consolidation Loan_ If you need more space to fist loans, use the Additional Loan Listing Sheet inducted with this Note_ list each loan
         separately

         We will send you a notice before we consolidate your loans_ This notice will (1) provide you with information abou the rons and payoff amounts that we have verified,
         and (2) tell you the deadline by which you must notify us 1f you want to cancel Ifie Direct Consolickltioo Loan, or if you do not want to consolidate one o more of the loans
         listed in the notice_ The notice will include informatioo about loans !hat you listed in this section_ If you have additional loans with a holder of a loan that you listed in this
         section, the notice may also include information about those additional loans_ See the Instructions for more information about the notice we will send.

                                                        IN THIS SECTION, UST ONLY LOANS THAT YOU WANT TO CONSOLIDATE

          1 3. Loan Code (see 14. loan Holder/Servicer Name, Address, and                                                             15. loan Account            16. Estimated Payoff
          Instructions)       Area Code/Telephone Number (see Instructions)                                                           Number                      Amount
          J                   NAVIENT SOLUTIONS, LLC.                                                                                                             $24,460.00
                              220 LASLEY AVE                                                                                          C                      1
                              WILKES-BARRE, PA 18706

          J                      NAVIENT SOLUTIONS, LLC.                                                                                                          $27,353.00
                                 220 LASLEY AVE                                                                                                               '

                                 WILKES-BARRE, PA 18706




                                                                                                                                  I
     '
     I
     I
     1 7_ Grace Period End Date_ If any of the loans you want to consofidate are in a grace period, you can have the processing of your Direct CoosolidatJon Loan delayed
     until the end of your grace period by entering your expect.ed grace period end date in the space provided.

     If you leave this item blank, we will begin processing your Direct Consolidatioo Loan as soon as we receive this Note and any other required documents_ Any loans listed
     in the Loans You Want to Consolidate section that are in a grace period wil enter repayment immediately upon consolidation_ You wilt then lose the remaining portion
     of the grace period on those loans_

         Expected Grace Period End Date (month/year}:              ______




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     Borrowe r's Name Darrelle hompson                                                                      Social Security Number
     LOANS YOU DO NOT WANT TO CONSOLIDATE


     Read the Instructions before completing this section. List all education loans that you are not consolidating, but want us to consider when we calculate the maximum
     repayment period for your Direct Consolidation Loan (see Item 1 1 of the Borrower's Rights and Responsibilities Statement that accompanies this Note}. Remember to
     include any Direct Loan Program loans that you do not want to consolidate. If ou need more space to list loans, use. the Additional Loan Listing Sheet included wifh this
     Note. List each foan separately.

     We will send you a notice before we consolidate your loans. This notice will (1} provide you with information about lhe loans and payoff amounts that we have verified,
     and (2) tell you the deadline by which you must notify us if you want to cancel the Direct Consolidation Loan, or if you do not want to consolidate one or more of (he loans
     listed in the notice. The notice may also include information about any loans you listed in this section, but these loans listed wilt not be consolidated. See the Instructions
     for more inform.:ition about the notice we will send.

                                              IN THIS SECTION, LIST ONLY LOANS THAT YOU DO NOT WANT TO CONSOLIDATE

      18. Loan Code (see 19. Loan Holder/Servicer Name, Address, and                                                          20. Loan Account              21. Current Balance
      Instructions}      Area Code/Telephone Number (see Instructions)                                                        Number




     REPAYMENT PLAN SELECTION

     To understand your repayment plan options, carefully read the repayment plan information in Item 1 1 of he Borrower's Rights and Responsibilities Statement that
     accompanies this Note and in any supplemental materials you receive with this Note. Then select a repayment plan for your Direct Consolidation Loan:


               To select the Standard Repayment Plan, the Graduated Repayment Plan, or the Extended Repayment Plan, complete the Rep.1yment Pl.1n Selection form that
               accompanies this Note.
               To select the Income-Based Repayment Plan (!BR Plan), the Pay As You Earn Repayment Plan (Pay As You Earn Plan). or the Income-Contingent Repayment Plan
               (!CR Plan), visit studentLoans.gov to complete the appfication online or complete the Income-Driven Repayment Plan Request form that accompanies this Note.

     NOTE: You must select the IBR Ptan. the Pay As You Earn Plan, or the ICR Plan for repayment of your Direct eonsolidation Loan if:

          1.   You want to consolidate a defaulted loan and you have not made a satisfactory repayment arrangement with your current roan holder(s}; or
          2.   You are consohdating a delinquent Federal Consofida ion Loan that the lender has submitted to the guaranty agency for default aversion. or you are consolidating a
               defaulted Federal Consolidation Loan, and you are not consolidating any additlOflal eligible loans.


     BORROWER UNDERSTANDINGS, CERTIFICATIONS, AND AUTHORIZATIONS

     22. I understand that                                                                         The notice that ED sends will include information al.lout the loans I listed in the
                                                                                                   Loans You Want to Consolidate section of this Note If I have additional loans
     A. Applying for a Direct Consolidation Loan does not obligate me to agree to                  that are with a holder of a loan listed in the Loans You Want to Consolidate
     taKe the loan. The u S Department ol Education (ED) will provide me with:                     section, but I did not list those loans in that section, the notice may also include
                                                                                                   information about those addttlonal loans. I must inform ED by the deadline
          The deadline by which I must notify ED if I want to cancel the Direct                    specified in the notice if I do not want all" of the loans listed in the notice to
          Consotida ioo Loan, or if I do not want to consolidate any of the loan that              be consolidated.
          ED has venfied; and
          A notice containing ,nforma!ion about he loans and payoff amounts I.hat ED               The notice that ED sends may also include information about loans I listed in I.he
          has 11erified with he hOlders of my loans or through ED's Nationat student               Loans You Want to Consolidate seclfon of this Note, but these loans will not not
          Loan Data System (NSLDS} before the actual payoffs occur                                 be consolidated.




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     Borrower's Name: Darrelle Thompson                                                                      Social Security Number
     BORROWER UNDERSTANDINGS, C ERTIFICATIONS, AND AUTHORIZATIONS (CONTINUED)

     B. If ED accepts this application for a Direct Consolidation Loan. I understand               G. lf I cOflsOlidate my loans, ! may no longer be eligible for certain deferments,
     that ED will send funds to the holders of the loans that I want lo consolidate                subsidized defennent periods. certain types or loan discharges or loan rorgrveness,
     lo pay off tllose loans. The amount of my Direct ConsOlida ion Loan wm be                     reduced interest rates. or repayment incentive programs mat were available on the
     the sum of the balances of my outstanding eligible loans that I have Chosen to                loans I am consolidating.
     consol.idale The payoff amount may be greater than or Jess lhan the estimated
     total balance I have tnd'rcated in the Loans You Want to Consolidate section.                  H. If I am consolidating a Perkins Loan

     The outstanding balance oo each loan to be consOlidated includes unpaid                            I wilt no longer be eligible for interest-free periods 111<1lile I am enrolfed in
     principal, unpaid accrued interest and late charges as dehned by federal                           school at least half time, in the grace period on my loan, and during deferment
     reguta!lons and as certified by the loan holder. Col[ection costs may also be                      penads; and
     Included. For a Direct Loan Program or Federal Family Education Loan (FFEL)                        I wm no longer be eligible for ruu or partial loan cancellation under the Pmins
     Pogram loan that is in default, the amount of any collection costs that may be                     Loan Program based on years of service in one of the fOllowing occupations:
     included in the payoff balances of the loans is limited to a maximum of 18.5% of                   teachef in a low-income elementary or secondary schoOI; staff member in an
     me outstanding principal and interest. For any other defaulted federal education                   eligible preschool prngram; special education teacher; member of the Anmed
     loans. all collection costs that are owed may be included in the payoff balances                   Forces who qualifies for special pay; Peace Corps volunteer or volunteer
     or the loans.                                                                                      under the Domestic Volunteer Service Act of 1 973; law enforcement or
                                                                                                        corrections officer; attorney in an eligible defender organization; teacher of
     C. If the amount ED sends to my loan holders is more than !he amount needed                        mathematics, science, foreign languages. , bilingual education or any other
     to pay off the balances of the selected loans. the holders wm rerunct the excess                   high-need field; nurse or medical technician providing health care services;
     amount to ED and this amount will be applied against 1he outstanding balance                       employee of a public or private nonprofit child or ramify service agency !hat
     of my Direct Consolidation loan. If the amount that ED sends to my holders ls                      services high-risk. Children from tow-income families and !heir families; fiie
     less than !he amount needed to pay off the balances or th.e loans selected for                     fighter; faculty member at a Tr bal College or University; librarian: or speech
     consolidation. ED will tnclude the remaining amount in my Direct Consolidation                     language pathologist
     loan
                                                                                                    l. Any payments I made on the Joans I am consolidating before the date of
     D. If I am consolidaling loans made under he FFEL. Direct Loan, or Federal                     consolidation will not count toward:
     Perl<ins Loan (Perkins loan} programs, the outstanding balance of my Direct
     Consolida ioo Loan counts against the applicallle aggregate lean limits for each                      The number of years of qualifying repayment required for toan forgiveness
     type of loan Under the Act {"the Act" is defined under ·Governing law" in the                        under the IBR Plan, the Pay As You Earn Pfan, or the ICR Plan (see Item 1 1
     Note Tenns and Conditions section of this Note). the percentage of the original                      of the Borrower·s Rights and Responsibilities Statement), or
     amount of my Direct Consolidation Loan that is attributable to each loan type is                     The 120 qualifying payments required for Public Seivice Loan Forgiveness
     counted against the loan fimit for that type of loan                                                  (see Item 18 of the Borrower's Rights and Responsibilities Statement)
                                                                                                    J. If I am consolidating a Direct PLUS Loan or a Federal PLUS loan that I
     E. I must agree lo repay my Direct Consolidation Loan under the 1BR Plan, the                  obtained to help pay for my child's undergraduate education, I will not be eligible
     Pay As You Earn Plan. or the ICR Plan if:                                                      to repay my Direct ConsOlidation Loan under the IBR Plan or the Pay As You Earn
                                                                                                    Plan. However, I may repay my Direct Consolidation Loan under he ICR Plan.
           I am consolida ing a defaulted loan and I have not made a sa isfac!ory
          repayment arrangement with the current holder of the defaulted loan. or                   K. If I am consolidating a Direct Loan Program loan firs! disbursed before July 1 .
          I am consoltda ing a delinquent Federal Consolidation Loan (a                             20 1 2 on which I received an up-front interest rebate, and I have not yet made the
          consolidation loan made under the FFEL Program) hat the lender has                        first 12 required on-time payments on mat loan at the ime the loan is consolidated,
          submil1ed to the guaranty agency for default aversion or a defaulted                      I wil lose the rebate. This means that the rebate amount will be added back to !he
           Federal Consolidation loan, and I am not including another eligible loan in              principal balance of the loan before it is consolidated
          the consolldalion.
     F. I may nol consolidate an existing Direct Consoli.d ation Loan unless I include              l. ED will give me the opportunity to pay the interest that accrues on the
     at teas! one additional eHgible loan in the consolidahoo. t may consoltdate an                 unsubsidized portion of my Direct Consolidation Loan during deferment periods
     existing Federal Consolidation Loan witt1out including an addibonal eligible loan              (including in-school deferment periods) and on the entire por ion of my Direct
     in the consolidation if I am:                                                                  Consottda ion Loan during forbearance periods. 11 1 do not pay the interest that
                                                                                                    accrues during these periods. ED may add the unpaid interest that. accrues to
          Consolida ing a delinquent Federal Consolidation Loan that the lender has                 the principal balance of my loan (this is called ·capitalization") at the end of the
          submitted to the guaranty agenc for default aversion, or consolidating a                  deferment or foroearance period Caprtalization will increase the principal balance
          defaulted Federal Consolidation Loan, and I agree to repay my new Direct                  on my loan and the total amount of interest I must pay.
          Consolida ion Loan under the IB.R Plan. tile Pay As You Earn Plan. or the
          ICR Plan;
          Consohda ing a Federal Consolidation Loan to use the Public Service loan
          Forgiveness Program; or
          Consolida ing a Federal Consolidation Loan to use the no accruar of
          interest benefit for active dut service members.




                                                                             SUBMIT PAGES 1 THROUGH S
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     Borrower's Name: Darrelle Thompson                                                                        Social Security Number _                                                  _
     BORROWER UNDERSTANDINGS, CERTIFICATIONS, AND                                                    F. I authorize my schools. ED. and their agents and contractors to contact me
     AUTHORIZATIONS (CONTINUED)                                                                      regarding my loan request or my loan, including repay ment of my loan . al the
                                                                                                     number that I provicte on this Note or any future number that I provide for m y
     M. ED has the authon ty to verily informafion reported oo \tus Note with olher                  cellular tele phone or other wireless device using automated dialing equi pment or
     fecteral a gencies                                                                              artrficial or prerecorded voice or text messages.
     n. Under penalty of perjury, I certify that                                                     PROMISE TO PAY
     A. The information that I have provided on this Note is !rue, complete, and
                                                                                                     25. I promise to pay ED all sums disbursed under the temis .of this Note lo pay
     correct to he best or my knowledge am! belief and IS made m good fai h
                                                                                                     off my prior roan oblrgat:ons plus interest and other charges and lees that may
     B. All of the loans I have selected for consoUdalion ha11e been used to finance                 become c.ue as provided in this Note
     my education or the education of one or more of my chtk1ren
                                                                                                     26. If I do not make a payment on my Direct Consolidation Loan when it is due, I
     c. All of the loans I have selected for consolldation are In a grace period or in               wm also pay reasonable collec ion costs, including but not limJted to attorney fees.
     re payment ('in repaymenr indudes loans In deferment or forbearance).                           court costs, and other fees.

     D. If I owe an overpay ment on a Federal Perkins Loan, Federal Pell                             27. My sig nature on this Note serves as my authorizat1011 to pay off the balances
     Grant, Federal Supplemental Educational Opportunity Grant. Academic                             of the loans I have selected for consolidation as provided by the holders of the
     Competitiveness Grant (ACG), Nallonal Science and Mathema tcs Access                            loans.
     to Retain Talent ( SMART ) Grant. oc Leveraging Educational Assistance
                                                                                                     28. I will not sig n this Note before reading the entire Note, even if t am told not to
     Partnership Grant, ! have made satisfactory arrangements to repay the amount
                                                                                                     read t, or told that I am not required t.o read it. I am entitled t.o an exact copy of
     owed.
                                                                                                     this Note and the Borrower's Rig hts and Responsibilities Statement.
     E. !f I am in default on any loan I am consolidating, I have either made a
                                                                                                      W. My signature certifies that I have read, understand, and agree to the
     sa!isra.ciory re pa yment arrangement wm, !he holder of that defaulted. ioan, or
                                                                                                      terms and cooditions of this Note, includin g the Borrower Underst,mdin g s,
     I will re pay my Direct Consolidation Loan under the IBR Plan. the Pay As You
                                                                                                      Certifications, and Authorizations section, and tne Borrower's Rig hts and
     Earn Plan , or lhe !CR Plan, except that I must rep ay my Direct Consolidatlon
                                                                                                      Responsibilities statement.
     Loan under the IBR Plan, the Pay As You Earn Plan, or the ICR Plan under the
     conditions descnbed above in Item 22 E                                                                   !UNDERSTAND THAT THIS IS A LOAN THAT I MUST REPAY.

     F. If I have been convicted of. or if I !lave pied oo/o contemtere (no contest ) or
     guilty to. a clime involving fraud in obtaining funds under Title IV of he Higher                                             30. Borrower's Signature
     Education Act of 1 965, as amended (HEA) , I have fully repaid the funds to ED
     or to the loan holder in the case of a Title IV federal student loan
                                                                                                     Darrelle M Thompson
     24. I make the following authorizations:

     A. I authorize ED to contact the holders of the loans I have selected for
     consolidation to determine the eligillt!ity for conSOli<lation and the payoff                    Toda y's Date(mm-dd-yyyy): _
                                                                                                                                 1_
                                                                                                                                  0-_3_
                                                                                                                                      1_
                                                                                                                                       -2_
                                                                                                                                         0_1_
                                                                                                                                            7                                             _
     amounts of:
          The loans listed in the Loans You Want to Consolidate section of lhls
          Nole. and
          An y of my other federal education loans that are held by a holder of a loan
          listed in the Loans You Want to Consolidate section.

     B. I authorize ED to issue the proceeds of my Direct Consolida ion Loan to the
     holders of the selected loans to pay off thOse roans.

     c. I authorize ED lo investigate my credit record and report information about
     my loan status lo persons and organizations permitted by law to receive that
     infonnation.

     D. I authortze my schools. ED. and their agents and cootractors to release
     information about my Direct Consolidation Loan t.o the references on the
     loan and to my immediate family members, unfess I submit wrrtten directions
     otherwise

     E. I aulhorize my schoofs, ED. and their agents and contractors to share
     Information about my loan with each other.




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                         THIS PAG E IS I NTE NTIO NALLY B LAN K




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     N OTE TE RMS A N D CON DITIONS

     GOVE R N I N G LAW                                                                                                 principal balance of you r loan) at the e n d of the deferment, fo rbearance, or
                                                                                                                        other period.
     The terms of this Federal Di rect Consolidation Loa n Application a n d
     Promissory Note ( N ote) w i l l be i nterp reted i n a ccord a n ce with t h e H igher                            RESPONS I BI LITY FOR PAYI NG ALL I NTEREST ON ALL OR PART OF THE
     E d u cation Act of 1965, as amended (20 U .S.C. 1070 et seq. ), the U .S .                                        SUBSI D IZED PORTION OF A DI RECT CONSOLI DATI ON LOAN (FOR FI RST­
     Department of E d u cation's ( E D's) regulations, a ny amend ments to t h e H EA                                  TI M E B ORROWERS ON OR AFTER J U LY 1, 2013)
     a n d the regu lati o n s in accordance with the effective date of those
     a m e n d m e nts, and other applicable federal laws a n d regulations (coll ective ly                             If you were a first-time borrower o n o r after J u ly 1, 2013 when you
     refe rred to as the "Act") .                                                                                       received a D i rect S u bsidized Loan and you a re now consolidating that loan,
                                                                                                                        you m ay be responsi b l e fo r paying t h e inte rest that accrues d u ring all
     U n der a p p l i c a b l e state l aw, except a s preem pted b y federal law, you m ay                            periods on the portion of you r Direct Consolid ation Loan that repaid the
     have cert a i n borrowe r rights, remedi es, a n d defenses i n addition to those                                  Di rect S u bsid ized Loan. See Item 9 of the Borrower's Rights a nd
     stated in this N ote and i n the Borrowe r's Rights a n d Responsibilities                                         Responsibilities Statement that acco m pa n ies this N ote for m o re
     Statement.                                                                                                         informati o n .
     DISCLOS U RE O F LOAN TERMS                                                                                            LATE CHARGES AN D COLLECTION COSTS
     This N ote a p p l i e s to a Federal D i rect Consolidation Loan (Di rect                                             ED may collect from yo u :
     Consolidation Loa n ) . U n der this N ote, the principal a mount that you owe
     a n d are req u i red to repay wi l l be e q u a l to a l l su m s disbursed to pay off you r                                A l a t e c harge o f n o t more than six ce nts for each d o l l a r o f e a c h late
     prior l o a n obligations, p l u s a n y u n p a i d interest that i s capitalized a n d a d d e d                           payment if you fa i l to m a ke any p a rt of a req ui red insta l l m e nt
     to the pri nci p a l balance.                                                                                                payment within 30 days after it beco mes d u e, a n d
                                                                                                                                  A n y oth e r charges and fees t h a t a re perm itted by the Act rel ated t o
     Alth ough you w i l l have a single D i rect Consolidation Loa n, you r l o a n may                                          the co l lection o f y o u r D i rect Conso l i d ation Loa n .
     h ave u p to two separate loan i d e ntifi cation n u mbers depending o n the
     loans you consolidate. These l o a n i d e ntification n u m b e rs wi ll rep resent                                   If y o u defa u lt o n y o u r loan, y o u m ust p a y reasonable col lection costs, p l u s
     prior subsid ized loans and prior u n s u bsidized loans. Each a pplicable l o a n                                     court costs a n d attorney fees.
     identification n u m ber is represented b y this Note.                                                                 REPAYMENT
     When the loans you a re conso l i d ating a re paid off, a d isclosure state m e nt                                    You m ust repay the fu l l a m o u nt of the Di rect Consolidation Loan made
     w ill be p rovi ded to you . The disclosure wi ll identify the a m o u nt of your                                      u n d e r this N ote, p l u s a ccrued i nte rest . You w ill repay yo u r lo an i n monthly
     Di rect Conso l i d ation Loa n, the loan i de ntification n u m b e r(s), a n d a ddi ti o n a l                      i n sta l l m ents d u ri n g a repayment period that begins o n the date of the fi rst
     t e r ms o f the loan, such a s tl:le i nte rest rate a n d repayment sch e d u l e . If yo u                          disb ursement of the loan, u n l ess the l o a n is in a d eferment or forbearance
     have q u estio n s a bout the i nfo rmation disclosed, you may contact your                                             period. Generally, paym ents that you make or that someone e lse m a kes on
     servicer. The Borrowe r's Rights and Responsibi lities Statement                                                       your b e h a lf will be a p p lied first to late c ha rges a n d coll ection costs that are
     accom p a nying this N ote a lso conta i n s i m po rtant a d d itional i nformati o n . The                           d ue, then to inte rest that has n ot been p a i d, a n d fi n a l ly to the principal
     Borrower's Rights a n d Responsibilities Statem e nt a n d any disclosure you                                          a mount of the loan. H oweve r, any payments m a d e u n d e r the I ncome Based
     receive i n connection with the loan made under this N ote a re h ereby                                                 Repayment Plan o r the Pay As You Earn Repayment Plan will be a pplied first
     i n corporated i nto this N ote.                                                                                       to i nte rest that is d ue, then to fees that a re d u e, and then to the principal
     ED may use a servicer to handle b i l l i n g a n d other com m u n i cations related to                               a m ount.
     your l o a n .                                                                                                         E D w ill provid e you with a choice of repayment plans. The Borrower's
     I NTEREST                                                                                                              Rights a n d Responsibilities State ment i n c l u d es i nformation on these
                                                                                                                            repayment plans. You must select a repayment plan. If you do not sel ect a
     U n less E D n otifies you i n writing that a d ifferent rate will a p p ly, the interest                              repayment p l a n , ED will choose a p l a n fo r you n accordance with the Act.
     rate o n yo u r Di rect Consoli dation Loa n is a fixed rate that is calcu lated i n
     a ccord a n ce with a form u l a specifi ed i n t h e Act. The i nte rest rate for a Direct                            ED w ill provi de you with a re p ayment sch e d u l e that i d e ntifies your paym ent
     Consolidation Loan is based on the weighted average of the interest rates                                              a mou nts a n d d u e dates. Yo u r fi rst paym e nt w i l l be d u e within 60 d ays of t h e
     on the loa ns being conso l i d ated, rou n d e d to the n e a rest higher o n e eighth                                fi rst d i s b u rsement o f your Di rect Consolidation Loa n u n l ess the loan is in a
     of o n e percent. There is n o cap o n the i nterest rate that is dete r m i n e d                                     d eferment or fo rbeara n ce period. If you i ntend to repay your l o a n but are
     u n d e r this form u l a . This is a fixed inte rest rate, which means that t h e rate                                u n a b l e to m a ke you r scheduled loan payments, ED may grant you a
     w i l l re m a i n the sa me throughout the life of the l o a n .                                                      fo rbearance that a l lows you to temporarily stop making payme nts, or to
                                                                                                                            tem pora ri ly m a ke a smaller payment a m o u nt, which exte nds the time fo r
     Except as p rovi ded u n d e r the Act, you m ust pay the interest that a c c r u e s o n                              m a king payments.
     your D i re ct Consolidation L o a n d u ri ng a l l periods, f r o m the d a t e o f
     disbursement u nt i l the l oa n is p a i d i n fu l l or d isch a rged . Y o u a re n o t                             E D may a dj u st payment dates on your Di rect Consolidation Loa n o r may
     req u i red to p a y t h e i nte rest t h a t accrues d u ri n g d eferment p e r i o d s o n the                      grant you a fo rbearance to e l i m i n ate a d e l i n q uency that rem a i n s even
     portion of you r Di rect Consolidation Loan that repaid subsid ized loa ns,                                            though you a re m a king sche d u led i n sta l l m ent payments.
     except as expl a i n e d u n d e r the h e a d i n g "Responsi bil ity fo r Payi ng All I nterest
     on All or P a rt of the S u bs i d i zed Portion of a D i re ct Consolidation Loa n (for
     Fi rst-T i m e Borrowers o n o r after J u ly 1, 2013)."

     You w i l l be given the o p portun ity to pay t h e i nterest that accrues d u ri n g
     deferment, fo rbea ra n ce, or oth e r p e r i o d s a s p rovi ded under the Act . If y o u
     do n o t pay this i nterest, ED may capitalize t h e inte rest (add it to the
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     N OTE TERMS AN D CONDITI ONS (CONTI N U ED)

     You may prepay all o r a ny part of the u n p a i d bala nce o n your loan at a ny
     ti me without pena lty. After you have repaid you r D i rect Consolidation Loa n
     i n fu l l, E D w i l l send you a n otice tel l i ng you that you h ave p a i d off your loa n .

     ACCELERATI ON AND D E FA U LT

     At E D's option, the enti re u n paid b a l a n ce of your Di rect Consolidation Loa n
     wi ll become i m mediately d u e a n d payable (th is is c a l led "acceleration") f
     either of the fol lowing events occurs:

     1.     You m a ke a fa lse rep rese ntation t h a t results i n y o u r receiving a lo a n
            f o r which you a re n ot el igi b le ; o r
     2.     You defa u lt on the l o a n .

     The following events w i l l constitute a defa u lt o n you r l oa n :

     1.     You do n ot pay the e ntire u n pa i d b a l a n ce of t h e l o a n after ED has
            exercised its option u n d e r item 1 a bove;
     2.     You do n ot m a ke i n sta l l m e nt payments when d u e a n d your fa i l u re to
            m a ke payments has continued for at least 270 days; or
     3.     You do not comply with other terms of t h e loan, and E D reasonably
            concludes that you n o longer intend to honor you r repayment
            o b l igatio n .

     If yo u defa u lt, ED may capitalize a l l o utsta n d i n g i nte rest. T h i s w i l l i ncrease
     the principal balance of your loan, a n d the fu l l a mount of t h e loan, i n c l u d i ng
     the n ew principal b al a nce a n d collection costs, wi ll become i m m ed iately
     due and paya b l e .

     If you d efa u lt, the d efa u lt w i l l be reported to nationwide consu m e r
     re porti n g agencies (credit bureaus) a n d w i l l sign ifica ntly a n d a d versely
     affect your credit h istory. A defa u lt will have a d d itional adve rse
     conse q u e n ces as exp l a i n e d i n the Borrower's Rights and Responsibilities
     Statement. Fol lowing d efa u lt, you may be req u i red to repay the loan
     (potent i a lly i n c l u d i n g a m o u nts i n excess of t h e principal a n d inte rest) under
     the I nco me Based Repayment P l a n o r the I ncome Contingent Repayment
     Plan i n accord a nce with the Act.

      LEGAL N OTICES

     Any notice req u i red to be given to you w i l l be effective if sent by fi rst class
     m a i l to the most recent a d d ress that E D h a s fo r you, by e l ectronic means to
     a n a d d ress you have p rovided, o r by any other method of n otifi cation that is
     perm itted or req u i red by a pp l icable statute o r regulati o n .

     Y o u m u st immediately notify E D o f a cha nge i n y o u r contact information o r
     status a s specifi ed i n t h e B orrower's Rights a nd Responsibilities State ment
     u n d e r "I nformation you m u st report to us."

     If ED does not e n force o r i nsist o n c o m p l i a nce with a ny term of this N ote,
     this does n ot waive a ny right of ED. No p rovision of this N ote may be
     modifie d or waived except in writing by ED. If a ny p rovision of this N ote is
     d ete r m i n ed to be u n e nforcea ble, the re m a i n i n g provisions w i l l remain in
     force .

     I nfo rmation a bout your l oan w i l l be s u b m itted to t h e N atio n a l Student Loa n
     Data System (NSLDS) . I nformati o n i n NSLDS i s a ccessible t o schools, l e n d e rs,
     a n d g u a ra ntors for specific p u rposes as a uthorized by E D .




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     IMPORTANT NOTICES                                                                        you in repayment efforts, disclosures may be made to guaranty
                                                                                              agencies, to financial and educational institutions, or to federal, slate,
     Gramm-Leach-Bliley Act Notice                                                            or local agencies In the event of litigation, we may send records to the
     In 1999, Congress enacted the Gramm-Leach-Bliley Act (Public Law                         Department of Justice, a court, adjudicative body, counsel, party, or
     106-102). Thrs Act requires that lenders provide certain infrnma!ion                     witness if the disclosure is relevant and necessary to the litlgation If this
     to their customers regarding the collection and use of nonpublic                         information, either alone or with other information, indicates a potential
     personal information.                                                                    violation of law, we may send it to the appropriate authority for action.
                                                                                              We may send information to members of Congress if you ask them to
     We disclose nonpublic personal information to third parties only as                      help you with federal student aid questions In circumstances involving
     necessary to process and service your foan and as permitted by the                       employment complaints, grtevances, or disciplinary actions, we may
     Privacy Act of 1974. See the Privacy Act Notice below We do not sell                     disclose relevant records to adjudicate or investigate the issues. If
     or otherwise make available any information about you to any third                       provided for by a collective bargaining agreement, we may disclose
     parties for marketing purposes.                                                          records to a labor organization recognized under 5 U.S.C Chapter
     We protect the securit and confrden!iafity of nonpublic personal                         71 . Discrosures may be made to our contractors for the purpose
     information by implementing the following policies and practices. AU                     of performing any programmatic function that requires disclosure
     physical access to the sites where nonpublic personal information is                     of records. Before making any such disclosure, we will require the
     maintained is controlled and monitored by security personneL Our                         contractor to maintain Privacy Act safeguards. Drsclosures may also be
     computer systems offer a high degree of resistance to tampering                          made to qualified researchers under Privacy Act safeguards.
     and circumvention These systems limit data access lo our staff and                       Financial Privacy Act Notice
     contract staff on a ·need-lo-know· basis, and control individuat users'
     ability to access and aHer records within the systems. All users of                      Under the Right to Financial Privacy Act of 1 978 (12 U S,C.
     these systems are given a unique user ID with persona! identiiers. AU                    3401 -342 1 ), ED will have access to financial records in your student
     interactions by individual users with the systems are recorded.                          Joan file maintained in compliance with the administration of the Direct
                                                                                              Loan Program
     Privacy Act Notice
                                                                                              Paperwork Reduction Notice
     The Privacy Act of 1974 (5 U .S.C. 552a) requires that the following
     notice be provided to you:                                                               According to the Paperwork Reduction Act of 1 995, no persons are
                                                                                              required to respond to a collection of information unless the collection
     The authority for colfecting the requested information from and about                    displays a valid 0MB control number. The valid 0MB control number
     you is §451 � of the Higher EducalJon Act (HEA} of 1965, as                              for this inormation collection is 1 845-0053. Public reporting burden for
     amended (20 U.S C 1087a et seq. } and lhe authorities for collecting                     this coHeclion of information is estimated to average 30 minutes (0.5
     and using your Social Security Number (SSN) are §484(a)(4} of the                        hours) per response, including time for reviewing instructions, searching
     HEA (20 U.S.C. 1 091 (a)(4)) and 31 U.S.C. 7701 (b) Participating in                     existing data sources, gathering and malntaining the data needed, and
     the William D. Ford Federal Direct loan {Direct loan} Program and                        completing and reviewing the collection of information The obligation to
     giving us your SSN are voluntary, but you must provide the requested                     respond to this collection is required to obtain a benefit in accordance
     information, including your SSN, to participate.                                         with 34 CFR 685.201 (c)(1 )
     The information in your file may be disclosed, on a case-by-case                         I f you have comments o r concerns regarding the status of your
     basis or under a computer matching program, lo third parties as                          individual submission of this form, contact:
     authorized under routine uses in the appropriate systems of records
     notices . The routine uses of this information include, but are not                             Fedloan Consolidation Department
     limited to, its disclosure to federal, state, or locar agencies, to private                     P.O, Box 69186
     parties such as relatives, present and lom1er employers, business                               Harrisburg
     and personal associates, to consumer reporting agencies. to financial                           PA, 171 06-91 86
     and educational institutions, and to guaranty agencies in order to
     venfy your identity, to determine your eligibility to receive a loan
     or a benefit on a loan, to permit the servicing or collection of your
     loan(s), to enforce the terms of the loan(s), lo investigate possible
     fraud and to verify compliance with federal student financial aid
     program regulations, or lo locate you if you become delinquent in your
     loan payments or if you default. To provide default rate calculations,
     disclosures may be made to guaranty agencies, to financial and
     educational institutions, or to state agencies To provide financial
     aid history information, disclosures may be made to educational
     institutions To assist program administrators with tracking refunds
     and cancellatlons, disclosures may be made to guaranty agencies, to
     financial and educational institutions, or to federal or state agencies
     To provide a standardized method for educational institutions to
     efficiently submit student enrollment status, disclosures may be made
     to guaranty agencies or to financial and educational institutions. To
     counsel




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     BORROWER'S RIG HTS A N D RESPONSIBI LITI ES STATEMENT



     Important Notice:                                                                                                3b. The u n s u bsidized portion of you r Di rect Conso lidation Loan ("Di rect
                                                                                                                      U n subsidized Conso l i d ation loan") wil l have one ide ntification number
     This Borrower's Rights ond Responsibilities Statement provides additional
                                                                                                                      re p resenting the a m o unt of t h e fo l l owing types of loans that you
     information about the terms and con ditions of the loan you will receive
                                                                                                                      consolidate:
     under the accompanying Federal Direct Consolidation Loan (Direct
     Consolidation Loan) Application and Promissory Note {Note). Please keep a                                                  U n s u bsidized a n d Nons u bsidized Federal Staffo rd loa ns
     copy of the Note and this Borrower's Rights and Responsibilities Statement                                                 Di rect U nsubsid ized loa ns
     for your records. You may request another copy of this Borrower's Rights                                                   U n s u bsidized Federal Consolidation loans
     and Responsibilities Statement at any time by con tacting your servicer.                                                   Di rect U nsu bsid ized Consolidation Loans
     Throughout this Borrower's Rights and Responsibilities Statement, the words                                                Federal PLUS Loans (for parents or for gra d u ate a n d professional
     "we, " "us, " and "our" refer to the U.S. Department of Education.                                                         students)
                                                                                                                                Di rect PLUS loa ns (for p a rents or for gra d u ate and p rofessional
     1 . THE WI LLIAM D. FORD F E DERAL DIRECT LOAN PROGRAM                                                                     students)
     The Wi l l i a m D. Ford Federal D i rect loan ( D i rect loa n) P rogra m i n cludes t h e                                Di rect PLUS Consol idati o n loans
     following types of l oa ns, k n o w n collectively as "Di rect loa ns" :                                                   Federal Perki n s loans
                                                                                                                                Nati o n a l D i rect Student loa ns ( N DSL)
           Federal    Di rect Stafford/Ford Loa ns ( D i rect S u bsid ized Loans)                                              Nati o n a l Defense Student Loa n s ( N DSL)
           Federal    Di rect U ns u bsid ized Stafford/Ford loa ns ( D i rect U nsubsid ized                                   Federal S u p p l e mental Loans for Stu d e nts (SLS)
           loans)                                                                                                               Parent loa ns fo r Un de rgraduate Stu d e nts (PLUS)
           Federa l   Di rect PLUS loa n s ( D i rect PLUS loa ns)                                                              Auxi l i a ry Loa ns to Assist Students (ALAS)
           Federal    Direct Consolidation Loa ns ( D i rect Consolidation Loans)                                               H e a lth Professions Stu d e nt Loa ns ( H PSL)
     The D i rect loa n Progra m i s a uthorized by Title IV, P a rt D, of the H igher                                          H e a lth E d u cation Assist a n ce Loa ns ( H EAL)
     E d ucation Act of 1965, a s amended ( H EA), 20 U .S . C . 1070 et seq.                                                   N u rsing Stu d e nt loans ( NSL)
                                                                                                                                loans for Disa dva ntaged Students (LOS)
     Di rect Loans a re made by the U .S. D e p a rtment of E du catio n . We contract
     with servicers to process D i rect loan payme nts, d eferment a n d forb earance                                 4. ADDING E LIGIBLE LOANS TO YO UR DI RECT CONSOLI DATI ON LOAN
     req uests, a n d oth e r tra n s a ctions, a n d to a nswer q uestions about D i re ct
                                                                                                                      You may a d d eligible loans to you r D i rect Conso l i d ation loan by subm itting
     Loa ns. We w il l provide you with the a d d ress a n d te lephone n u m b e r of the
                                                                                                                      a req uest to us with i n 180 days of the date your D i rect Consolidation Loa n i s
     servicer for your loan.
                                                                                                                      m a d e . (You r D i rect Consol idation Loa n is "made" on t h e date we p a y off t h e
     2. LAWS THAT APPLY TO THIS N OTE                                                                                 fi rst l o a n t h a t y o u a re conso l i d ating.) After we p a y off a ny l o a n s that you
                                                                                                                      add d u ring the 1 80 day peri od, we will notify you of the new tota l amount
     The terms a n d conditions of loans made u n d e r this Note a re determ ined by
                                                                                                                      of you r D i rect Consolidation Loa n a n d of a ny a dj ustments t hat m ust be
     the H EA a n d other a p p l i c a b l e fed e ra l laws a n d regulations. These laws a n d
                                                                                                                      made to your m onthly paym ent a mount a n d/or inte rest rate.
     regulations a re refe rred to as "the Act" throughout this Borrower's Rights
     a n d Responsi b i l ities State ment. U n d e r a pplicable state l aw, except as                               If you want to consolidate a ny add itio n a l eligible lo an (s) after the 1 80 day
     preem pted by federal law, you may have certa i n bo rrower rights, remed ies,                                   period, you m ust a pply for a new D i rect Consolidation Loa n .
     a nd d efe nses in addition to those stated i n the Note and this Borrower's
                                                                                                                      S . LOANS THAT MAY BE CONSOLI DATED
     Rights and Responsibi lities Statement.
                                                                                                                      General
     NOTE: Any amendment to the Act that affects the terms of this N ote will
     be a p p lied to you r loan i n a ccorda nce with the effective date of the                                      Only the fed e ra l e d u cation loans listed n Items 3 a . a n d 3 b . of this
     a m e n d ment.                                                                                                  Borrower's Rights and Responsibilities Statement may be consolid ated into
     3 . DI RECT CONSOLI DATI O N LOAN IDENTIFICATIO N N U M BERS
                                                                                                                      a D i rect Conso l i d ation loa n . You may only consolidate loans that are in a
                                                                                                                      grace period or i n repayment ( i n c l u d i ng loans in d eferment or fo rbearance).
     D e p e n d i n g on the type(s) of federal e d u cation loa n(s) that you choose to                             At least one of the loans that you consolidate m u st be a D i rect Loa n
     conso l i d ate, your Di rect Consolidation Loan may have u p to two i n d iv i d u a l                          P rogra m lo an or a Federal F a m i ly E d ucation Loa n ( F F E L) P rogra m l o a n .
     lo an i d entifi cation n u m bers. H owever, you wi ll h a v e o n ly one D i rect
                                                                                                                      Defaulted loans
     Consoli dation loan and w i l l receive o n ly one b i l l .
                                                                                                                          You may consolid ate a loan that is in d efa ult if:
     3 a . T h e subsidized portio n of y o u r D i rect Consol i d ation loa n ("Direct
     S u bs i d i zed Consolidation Loan") w i ll have one l oa n i de ntification n u m b e r                                  You first m a ke satisfactory repayment a rrange m e nts with the holder
     representing the a m o u nt of the fo llowing types of loans that yo u                                                     of the d efa u lted loan, o r
     consol i d ate:                                                                                                            Y o u agree to repay yo u r Di rect Consolidation loan under the I B R P l a n,
     •     S u bsidized Federa l Stafford Loa n s                                                                               the Pay As You Earn Plan, or the I C R Plan (see Item 1 1 ) .
           D i rect S u bsid ized Loans                                                                                   Existing consolidation loans
     •     S u bsidized Federal Conso l idation Loa ns
                                                                                                                          If you want to consolidate a n existing Direct Conso l i d ation Loan, you must
           D i rect S u bsid ized Consolidation Loans
                                                                                                                          i n c l u d e an additional eligible loan i n t h e consoli dati o n . H owever, you may
           Federal Insured Student Loa ns ( F I S L)
                                                                                                                          consolidate an existing Federal Conso l i dation loan i nto a new Direct
           G u a ra nteed Student Loa ns (GSL)
                                                                                                                          Consolidation loan without i n c l u d i n g an a d ditio n a l lo an if you are:
                                                                                           S U B M IT PAGES 1 T H R O U G H 5
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     BORROWER'S R I G H TS AND RESPONSIBI LITIES STATE ME NT


            Consolidating a d e l i nq uent Federa l Consolidation Loa n that the lender                                       portion of your Di rect Conso l i d ation Loa n that repaid the D i rect S u bsidized
            has subm itted to the gua ranty agency fo r defa ult aversion, o r                                                 Loan, as exp l a i n e d in Item 9 of this Borrower's Rights and Responsi b i l ities
            conso l i d ating a d efa ulted F e d e r a l Consolidation Loa n, a n d y o u agree                               State ment.
            to repay your new Di rect Consol i d ation Loan under the I BR P l a n, the
                                                                                                                               Payment of interest on a Direct Unsubsidized Consolidation Loan
            Pay As You E a rn P l a n, or the I C R P l a n ;
            Consolidating a F e d e r a l Consolidation L o a n to u s e the P u b l i c S e rvice                             Except as explained below fo r certa i n bo rrowers who a re a ctive d uty servi ce
            Loan Forgive ness p rogra m described in Item 18 of this Borrower's                                                members, you m ust pay the i nterest that a ccrues on a Direct U nsubsidized
            Rights a n d Responsibilities Statem e nt ; or                                                                     Consolidation Loan (see Item 3 b . of this Borrower's R ights a n d
            Consolidating a Federal Consolidation Loan to use the no accrual of                                                Responsi b i lities Statement) d u ring a l l periods.
            inte rest benefit for a ctive d uty service mem bers described in Item 8 .
                                                                                                                               No accrual of interest benefit for active duty service members
     You m ay n o t consolid ate a n existing joint consolidation l oa n . A j o i n t
                                                                                                                               U n d e r the no accrual of i nterest ben efit for a ctive duty service members,
     conso l i d ation l oa n is a Di rect Conso l i dation Loa n or F e d e r a l Consoli dation
                                                                                                                               you a re n ot required to pay t h e inte rest that a ccrues d u ring periods of
     that was m a d e j o i ntly to you a n d your spouse.
                                                                                                                               q u a l ifyi n g active d uty m i l itary service (fo r up to 60 m o nths) on the portio n
     6. I N F ORMATI ON YOU M U ST REPORT TO US                                                                                o f a Di rect Consolidation Loa n t h a t re paid a D i rect Loa n Program or F F E L
                                                                                                                               P rogra m lo an first disbursed o n or after October 1, 2008.
     U nt i l you r loan i s repaid, you m u st n otify your servicer if you:
                                                                                                                               Interest capitalization
            Change your a d d ress or telephone n u m ber;
            Change your name (for exa m p l e, m a i d e n name to m a rried n a m e);                                         If you do not pay the i nterest as it a ccrues on either a D i rect S u bsid ized
            Change your e m p l oyer or you r e m p l oyer's a d d ress o r telephone                                          Consolidation Loan o r a Direct U nsubsidized Conso l i d ation Loa n (during
            n u m be r cha nges; or                                                                                            periods when you a re respo nsible for paying the i nte rest), we w i l l add the
            H ave any oth er cha nge i n status that would affect your l o a n (for                                            accrued interest to the unpaid principal b a l a n ce of your loan at the end of
            exa m p l e, if you receive a deferment while you a re u n e m ployed, but                                         the d eferment or fo rbearance p e riod . This is called "capital ization."
            you fi n d a job and therefore n o longe r meet the el igibi lity                                                  Capitalization i ncreases the u n pa i d principal b a l a nce of your loan, a n d
            req u i re m ents for the defe rm ent) .                                                                           interest then accrues o n t h e i n creased p r i n c i p a l balance.

     7. I N TEREST RATE                                                                                                        The chart that fol l ows shows the d ifference i n the tota l a m o u nt you wou l d
                                                                                                                               repay on a $15,000 Di rect U n su bsidized Consolidation Loa n if y o u p a y t h e
     The i nte rest rate on your D i rect Conso l i d ation Loa n w i l l be the weighted                                      interest as it a ccrues d u ring a 12-m o nth deferment o r forbearance period,
     average of the interest rates on the l o a n s you a re consolidati ng, ro unded to                                       compared to the a m o u nt you would repay if you d o not pay the i nte rest a n d
     the nea rest higher one eighth of one percent. There i s n o cap on the                                                   i t is capitalized.
     interest rate that i s d ete rmined u n d e r this form u l a . We w i l l send you a
     n otice that tells you the i nterest rate on your loan.                                                                   The exa m p l e i n the chart shows payments m a d e u n d e r the Sta n d a rd
                                                                                                                               Repaym e nt P l a n (with a repayment period of 15 years based on the amount
     The i nterest rate o n a D i rect Conso l i d ation Loa n is a fixed rate. This means                                     of the D i rect Consolidation Loan) at a n i nterest rate of 8.25%. I n this
     that the i nterest rate w i l l rem a i n the sa m e throughout the l ife of your loa n .                                 exa m p le, you would pay $12 less per month a n d $2,150 less a ltogether if
     If y o u q u a l ify u n d e r t h e Servi cemem bers Civil Relief Act, t h e i nte rest rate o n                         you pay the interest a s it accrues d uring a 12 month deferment or
     y o u r l o a n s obta i n e d p r i o r t o m i l itary service m a y be l i m ited t o 6 % d u ring                     fo rbearance period.
     your m i l itary service. Contact your servicer for i nformati o n about how to                                                                                If you pay the interest      If you do not pay
     req uest this benefit.                                                                                                                                         as it accrues ...            the interest and it
                                                                                                                                                                                                 is capitalized ...
     8. PAYMENT O F I NTEREST                                                                                                          Loan Amount                          $15,000                    $15,000
                                                                                                                                       Interest for 12 Months               $1,238                      $1,238
     General
                                                                                                                                                                       (paid as accrued)             (unpaid and
     In general, inte rest accrues on a D irect Consolidation Loa n from the d ate                                                                                                                   capitalized)
     the l o a n i s m a d e until it is p a i d i n fu l l o r discharged. You a re respo nsible for                                  Principal to be Repaid               $ 15,000                   $16,238
     payi ng the inte rest that accrues a s explained below.                                                                           Monthly Payment                        $146                       $158
                                                                                                                                       Number of Payments                      180                        180
     Payment of interest on a Direct Subsidized Consolidation Loan                                                                     Total Repaid                         $26,209                    $28,359
     Except as expl a i n e d in Item 9 of this Bo rrower's Rights a n d Respons i b i l ities                                 Federal income tax deduction
     Statem ent, you a re not req uired to p a y the i nterest that a ccrues on a D i rect
     Subsid ized Conso l i d ation Loan (see Item 3 a . of this Borrower's Rights a n d                                            You may be ab le to c l a i m a fed e ra l i n co m e tax ded uction fo r i nterest
     Responsi b i l ities Statem e nt) d u ri n g d efe rment peri ods, a n d d u ri n g certa in                                  payments you m a ke on Direct Loans. For further i nformation, refe r to I RS
     periods of repayment u n d e r the IBR P l a n a n d the Pay As You Earn Plan.                                                P u b lication 970, which is ava i la b l e at http://www.irs.ustreas.gov.
     Except as exp l a i n e d below u n d e r N o accrual of interest benefit for active                                          9. RESPONSIBI LITY FOR PAYI N G ALL I NTEREST ON ALL OR PART OF THE
     duty service m embers, you m u st pay the i nte rest that accrues on a D i rect
                                                                                                                               SUBSI DIZED PORTI ON OF A D I RECT CONSOLIDATI O N LOAN (FOR F I RST­
     Subsidized Conso l i d ation Loan d u ri n g a l l othe r periods.                                                        TI M E B ORROWERS ON OR AFTER J U LY 1, 2013)
     If you were a fi rst ti me borrower on o r after J u ly 1, 2013 when you received                                             If you were a fi rst-time borrower o n or after J u ly 1, 2013 (see N ote below)
     a D i re ct S u bsidized Loa n that you are now consolidati ng, you may be                                                    when you received a D i rect S u bsidized Loan and you a re now consolidating
     responsi b l e for paying the interest that accrues d u ri n g all periods o n the                                            that loan, you may be respo n s i b l e for paying the i nte rest that accrues
                                                                                                   S U B M IT PAGES 1 T H R O U G H 5
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     BORROWER'S RIG HTS AND RESPONSIBI LITIES STATEM E N T


     d u ring a l l periods on the porti on of your Direct Consolidation Loan that                                            the rebate (the correspondence yo u received about you r l oan w i l l tell yo u if
     re p a i d the Di rect S u bsidized Loa n, as exp l a i ned below.                                                       you received a rebate), you will lose the re bate. The rebate a m o u nt will be
                                                                                                                              a d d e d back to the principal b a l a n ce of the loan before it is consolidated.
     There is a l i m it on the maxi m u m period of time (measured i n academic
     years) fo r which a fi rst-time bo rrowe r on or after J u ly 1, 2013 can receive                                        1 1 . REPAYI NG YOUR LOAN
     D i rect S u bsid ized Loans. I n general, a fi rst ti m e borrower may not receive
                                                                                                                              General
     D i rect S u bsidized Loans for more than 150% of the p u blished le ngth of h i s
     or h e r p rogram of study. This is called the "maxi m u m eligibility period."                                          U n less you receive a deferment or fo rbearance on yo u r lo an (see Item 17).
                                                                                                                              your fi rst payment will be due within 60 days of the fi rst disbursement of
     Generally, a fi rst ti me borrower on o r after J u ly 1, 2013 will become
                                                                                                                              your Di rect Conso l i d ation Loa n . Your servicer w i l l notify you of the date yo u r
     responsible fo r paying the interest that accrues d u ring all periods o n
                                                                                                                              first payment is d u e .
     p reviously received D i rect Subsid ized Loa ns if t h e borrowe r:
                                                                                                                              You m ust m a ke payments o n you r lo an e v e n if y o u d o n o t receive a b i l l o r
            Conti nues to be enrolled i n any u n d e rgra d u ate p rogra m after having
                                                                                                                              re payment notice.
            received D i rect S u bsidized Loa n s for his or h e r maxi m u m eligibility
            period, o r                                                                                                       You m ust repay all of your Di rect Loans under the same repayment plan,
            Enrolls in a n other u n dergra d uate p rogram t h a t is t h e sa m e le ngth as                                u n l ess you want to re pay your loans under the IBR P l a n, the Pay As You Earn
            o r shorter t ha n the borrower's p revio u s progra m .                                                          Plan, or the I C R Plan (see bel ow) and you h ave oth e r D i rect Loa ns that d o
                                                                                                                              n ot q u a l ify f o r repayment u n d e r t h o s e p l a n s . I n t h a t case, y o u may select
     There a r e a few exceptions t o t hi s r u l e . Y o u r school or servicer can p rovide                                the I B R, Pay As You E a rn, or I C R pl an for the loans that a re e l igi ble for
     you with more information about this requi rement a n d the exce pti ons.                                                repayment under those pla ns, and may select a d iffe rent repayment p lan
     You m ust pay the inte rest that accrues d u ring a l l periods ( i n c l u d i ng                                       fo r the loans that may not be repa id under the I B R, Pay As You Ea rn, or I CR
     deferment periods) on the porti on of yo u r D i rect Consol idation Loan that                                           plan.
     rep a i d a D i rect Su bsidized Loa n you received as a fi rst t i m e borrower on or                                   Repayment plans for all Direct Consolidation loans
     after J u ly 1, 2013 if:
                                                                                                                              You m ay choose the Sta ndard Repaym e nt P l a n, the Graduated Repayment
     • Before consolidating the Di rect Subsidized Loa n , you become responsible                                             P l a n, the Exte nded Re paym ent P l a n, or the I n come Contingent Repayment
       fo r paying a l l i nterest that a ccrues on that loan, as exp l a i n e d a bove; or                                  Plan to repay a ny Di rect Consolidation Loa n .
     • After conso l i d ating the Direct S u bsidized Loan you become responsible
       fo r paying a l l i nterest that accrues on that lo a n, as exp l a i n e d a bove .                                   Standard Repayment Plan          U nder t h i s p lan, y o u w ill m a ke fixed monthly
                                                                                                                              payments and repay yo ur loan i n fu l l within 1 0 to 3 0 yea rs ( not including
     Note: A fi rst ti me borrower on or after J u ly 1, 2013 is a n i n d i v i d u a l who h a s                            periods of d efe rment or fo rbearance) from the d ate the loan entered
     no outsta n d i n g bala nce on a Di rect Loa n P rogra m loan or a F e d e r a l F a m i ly                             repayment, depending on the amount of you r Di rect Consolidation Loan
     Ed ucation Loa n ( F F EL) P rogram loan on J u ly 1, 2013, or who has no                                                and the a m o u nt of your oth e r student loan d e bt ( not to exceed the amount
     outsta n d i n g b a l a n ce on a Di re ct Loan o r FFEL progra m l o a n o n the date h e                              you a re conso lidating) as listed in t h e L o a n s You Do N o t W a n t t o
     o r she o bta i n s a D i rect Loa n Progra m l o a n after J u ly 1, 2 0 1 3 .                                          Consolidate section of your N ote (see the chart below). Yo u r paym ents
                                                                                                                              m u st be at least $50 a month ($600 a year) a n d w ill be more, if n ecessa ry,
     1 0 . REPAYM ENT I N CEN TIVE PROGRAMS
                                                                                                                              to repay the lo an within the requi red time period .
     A repayment i n centive is a benefit that we offer to encourage you to repay
                                                                                                                              Graduated Repayment Plan                  Under this p lan, you will u s u a l ly m a ke lowe r
     your loan on time. The repayment i n centive progra m described below may
                                                                                                                              payments at fi rst, a n d your payme nts will gra d u a l ly i n crease over time. You
     be ava i l a b l e to yo u .
                                                                                                                              will repay your loan i n fu ll with i n 10 to 30 years ( not including periods of
     Interest rate reduction for automatic withdrawal of payments                                                             deferment or forbea rance) from the date the loan e ntered re payme nt,
                                                                                                                              d e p e n d i n g on the tota l amount of your Di rect Consolidation Loa n a n d the
     U n d e r the a utomatic withdrawal option, your ba n k a utomati c a l ly d e d u cts
                                                                                                                              a m ount of your other student loan d e bt ( n ot to exceed the a m o u nt you a r e
     your m onth ly loan payment from yo u r checking or savings account a n d
                                                                                                                              conso l i d ati ng) as l i s t e d in Loans Y o u Do N ot W a n t to Consolidate section o f
     sends i t to u s . Automatic with d rawa l h e l ps to ensure t h a t you r payme nts
                                                                                                                              your N o t e ( s e e the c h a rt below) . Your m o n t h l y payment m u st at least be
     a re m a d e on time. In a d dition, you receive a 0.25% interest rate red ucti o n
                                                                                                                              equal to t h e a mount of interest that accrues each month . N o single
     w h i l e you r e p a y u n d e r the a utomatic wit h d rawal o pti o n . Your servi cer w i l l
                                                                                                                              payment wi ll be more than t h ree times greater than a ny oth e r payment.
     p rovid e y o u with i nformation a b o ut t h e a utomatic withdrawal o ption. You
     can a lso get the i nformation on yo u r servicer' s web site, or by calling yo u r
     servicer. Y o u r servi cer's web site a d d ress a n d tol l free telephone n u m ber
     a re provi d ed o n correspondence that yo u r servicer sends you.

     Note: Another repaym ent i n centive program, the u p front i nterest re bate,
     was a v a i l a b l e o n Di rect Subsidized Loa n s, D i rect U nsubsidized Loans, a n d
     Di rect P LU S Loa n s t h a t w e r e fi rst d i s b u rsed befo re J u ly 1, 2 0 1 2 . T h e rebate
     is e q u a l to a percentage of the loan a m o u nt, and is the same a m o u nt that
     wo u l d result if the interest rate on t h e loan were lowered by a specifi c
     percentage. To permane ntly keep a n u p-front inte rest rebate, a bo rrower
     m u st m a ke each of t h e fi rst 12 req u i re d m onthly payments o n t i m e when
     the l o a n enters repayment. If you conso l i d ate a D i rect Loa n o n which yo u
     received a n up front i n terest re ba te before you h ave permanently e a r n ed

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     BORROWER'S RIG HTS AN D RESPONSI B I LITIES STATEMENT

              Sta n d a rd a n d G ra d uated Plans: M axim u m Repayment Periods                                                    Income-Based Repayment Plan (/BR Plan}                  U n d e r t h e I B R P l a n, your
        Total Ed ucation Loan I nde btedness                       M a xim um Repayment Period                                       monthly payment a m o unt is genera l ly 15% (10% if you a re a new borrower;
                      Less than $7,500                                              10 years                                         see Note be low) of your annual d iscreti onary i n come, d ivided by 1 2 .
                      $7,500 to $9, 999                                             1 2 years                                        Discretionary income f o r t h i s p l a n is the d ifference b etween yo u r a dj u sted
                    $ 10,000 to $ 1 9,999                                           15 years                                         gross i n co m e and 150% of the pove rty guideline a m o u nt fo r your state of
                    $20,000 to $ 3 9,999                                            20 years                                         residence and fa m i ly size. If you a re m a rried a n d fi le a joint federa l income
                    $40,000 to $59,999                                              25 yea rs                                        tax return, t h e income used to dete r m i n e your IBR Plan payment a m o u nt
                      $ 60,000 or more                                              30 years                                         wi ll be the combined adj usted gross income of you a n d your spouse.

     Extended Repayment Plan You a re eligible for this p la n o n ly if: (1) you                                                    To i n it i a l ly q u a l ify for the I B R Plan a n d to conti n u e to m a ke payments t h at
     have a n o utsta n d i ng balance o n Di rect Loa n P rogra m Loa n s that exceeds                                              a re based on yo u r i n come, the a m o unt you would be req u i red to pay o n
     $30,000; and (2) you had no o utsta n d i n g b a l a nce on a Di rect Loa n P rogra m                                          y o u r e l i g i b l e student l o a n s under the I B R P l a n (as described a bove) m ust be
     loan as of Octo ber 7, 1 998, or on the date you obta i n e d a D i rect Loan                                                   less than t h e a m o u nt you would have to pay u n d e r the Sta n d a rd Repayment
     P rogra m loan on o r after October 7, 1998.                                                                                    P l a n . If your I BR Plan payment a m o u nt is less than the a m o u nt you would
                                                                                                                                     h ave to pay under the Sta ndard Repayment P l a n, you a re considered to
     U n d e r this p l a n, you wi l l repay your lo a n i n fu l l over a repaym ent period n ot
                                                                                                                                     h ave a "parti a l fi n a n c i a l hardship."
     to exceed 25 yea rs ( not i n c l u d i n g periods of d eferment or forbea ra n ce)
     from the d ate the l oan entered repayment. You may ch oose to m a ke fixed                                                     If you a re m a rried and fi le a j o i nt federal income tax return, the loan
     monthly payme nts or gra d u ated monthly payments that sta rt out lower a n d                                                  a mount we use to d etermine wheth er you h ave a part i a l fin a n c i a l hardship
     gra d u a l ly i ncrease over time. If y o u m a ke fixed m o nthly payme nts, your                                             w ill include your eligible loans a n d your spouse's eligi b l e loans.
     payme nts m u st be at least $50 a month ($600 a year) a n d wi l l be more, if
                                                                                                                                     While you a re repaying under the I BR Plan, you m u st a n n u a l ly provide
     necessary, to repay the loan with i n the req u i red time period. If you m a ke
                                                                                                                                     documentation of your i ncom e a n d ce rtify your fa m i ly size so that we may
     gra d u ated monthly payments, you w i l l u s u a l ly make lower payme nts at
                                                                                                                                     determ i n e whether you conti n u e to h ave a partial fi n a n c i a l h a rdsh i p . Your
     fi rst, a n d you r payments will gra d u a l ly in crease over time. If yo u m a ke
                                                                                                                                     m o nthly payment a m ount may be a dj u sted a n n u a lly based o n the up d ated
     gra d u ated payments, you r monthly payment must at least be e q u a l to the
                                                                                                                                     income and fa m i ly size i nfo rmatio n that you provid e . If we determ ine that
     a m o u nt of inte rest that a ccrues each month, a n d n o single payment w i l l be
                                                                                                                                     you no longer have a p a rtial fi n a n c i a l h a rd s h i p, you may rem a i n on the I B R
     more than th ree times greater than a ny oth er payment.
                                                                                                                                     P l a n , but y o u r monthly paym e nt w ill n o longer be based on y o u r i n come.
     Income-Contingent Repayment Plan (/CR Plan}                   U n d e r this p l a n, your                                      I n stead, you r m o nt h ly payment w i l l be what you would be required to pay
     monthly payment a mount will be either 20% of your discretio na ry income                                                       under t h e Sta n d a rd Repayment P l a n, based on the a mount you owed o n
     o r a p e rcentage of w h at you would repay u n d e r a Sta n d a rd Repayment Plan                                            y o u r e l i g i b l e loans at the time y o u entered the I B R P l a n .
     with a 1 2 yea r repayment period, whi chever i s less. Discret i o n a ry i ncome
                                                                                                                                     U nd e r t h e I B R Plan, if your loan is n o t r e p a i d i n fu l l afte r y o u h a v e made the
     for this p l an i s the d ifference between you r a dj u sted gross income a n d the
                                                                                                                                     equ ivalent of 25 years (20 years if you a re a new borrower) of q u a lifying
     pove rty guide l i n e a mount for your state of residence a n d fa m i ly size. If you
                                                                                                                                     monthly payments and at least 25 years (20 years if you a re a new
     a re m a rried and fi l e a joint fed eral i n come tax return, the income used to
                                                                                                                                     borrower) h ave ela psed, any r e m a i n i ng loan a m o u nt will be forgiven. You
     d eterm i n e your ICR P l a n payment a mount w i l l be the combined a dj u sted
                                                                                                                                     may have to pay federal income tax on the loan a m o u nt that is forgiven .
     gross i n come of you and your spouse. U nt i l we obta i n the information
     needed to ca lcu late your monthly payment a m o u nt, your paym ent w i l l                                                    Note: Y o u a r e a new borrowe r fo r t h e I B R P l a n i f you h ave no outsta n d i ng
     e q u a l the a m o u nt o f i nterest t h a t accrues monthly on y o u r loan u n less you                                     balance on a Di rect Loan P rogram or F F E L P rogra m loan on J u ly 1, 2014, or if
     request a forbearance.                                                                                                          you have no o utsta nding balance on a Di rect Loan Progra m or F F E L Program
                                                                                                                                     loan on the date you obtain a D i rect Loan P rogram loan after J u ly 1, 2014.
     W h i l e you a re repaying under t h e I C R P l a n, you m u st a n n u a lly p rovi d e
                                                                                                                                     Your servicer will determine whether you a re a new borrower based o n the
     docum entation o f y o u r i n c o m e a n d certify y o u r fa m i ly s i z e . You r monthly
                                                                                                                                     information about your loans in the U . S . Department of Edu cation's
     payment a m ount may be adj u sted a n n u a lly based on the u pdated i n co m e
                                                                                                                                     National Stu dent Loa n Data Syst e m .
     a n d fa m i ly s i z e i nformatio n t h a t you provid e .
                                                                                                                                     Pay As You Earn Repayment Plan {Pay As You Earn Plan} U n d e r the P a y
     U n d e r the I C R P l a n , i f y o u r l o a n is n ot rep a i d i n fu l l after y o u h a v e m a d e t h e
                                                                                                                                     As Y o u Earn P l a n, y o u r month ly payment a m ount is genera lly 10% o f your
     equivalent o f 2 5 yea rs o f q u a l ifying monthly payments a n d at least 25 yea rs
                                                                                                                                     a n n u a l d iscretionary i n come, divided by 1 2 . D iscreti o n a ry i n co m e for this
     have e l a psed, any rem a i n i n g l o a n a mount w i l l be forgive n . You may have to
                                                                                                                                     plan is the d ifference between yo u r a dj usted gross income and 150% of the
     pay federal income tax on the loan a m ount that is forgive n .
                                                                                                                                     poverty g u i d e l i n e a m ou nt fo r your state of residence and fa m i ly size. If yo u
     Additional repayment plans for Direct Consolidation Loans that did not                                                          a re m a rried a n d fi le a joint federal i n come tax return, the income used to
     repay parent PLUS loans                                                                                                         d ete r m i n e your Pay As You E a rn P l a n payment a m o u nt w ill be the co mbined
                                                                                                                                     a dj u sted gross income of you a n d your spouse.
     In a d d ition to the fou r repayment p l a n s l isted a b ove that a re ava i l a b l e fo r
     a ny Di rect Conso lidation Loan, if you a re n ot consolidating any p a rent D i rect                                          The Pay As You Earn Plan is ava i l a b l e only to new borrowers. You a re a new
     PLUS Loans or p a rent F F E L PLUS Loans you m ay a lso choose the I ncome­                                                    borrower fo r t h e Pay As You Earn P l a n if:
     Based Repayment Plan o r the Pay As You E a rn Repayment Plan to repay
                                                                                                                                         1.   Y o u h a d n o o utsta nding b a l a n ce on a Di rect Loan Progra m o r F F E L
     your D i rect Conso l i d ation Loa n . A p a rent PLUS loan is a PLUS loan that you
                                                                                                                                              P rogra m lo an as o f October 1, 2007, o r y o u h a v e no outsta n d i n g
     obtai n e d to help pay fo r your c h i ld's u n d e rgra d uate education. You m ay not
                                                                                                                                              bala nce on a Di rect Loa n P rogra m o r F F E L Progra m loan w hen you
     choose the I ncome Based Repayment P l a n o r the Pay As You Earn P l a n if
                                                                                                                                              obta i n a new loan on or after October 1, 2007, a n d
     you are conso lidating a parent PLUS loan, but you may choose the I ncome
     Contingent Repayment P l a n (see a bove ) .
                                                                                                             S U BMIT PAGES 1 T H R O U G H 5
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     BORROWER'S RIG HTS AN O RESPONS I B I LITIES STATEM E N T


     2.     Y o u receive a d i s b u rsement of a D i re ct S u bsid ized L o a n , Di rect                          2.     Late c h a rges a n d collection costs, a n d
            U n s u bsidized Loan, or stu dent D i re ct PLUS Loan (a Di rect PLUS Loa n                              3.     Outsta n d i n g principal.
            m a d e to a grad uate or professional stu d e nt) on or after October 1,
                                                                                                                      We a pply a ny prepayments i n accord a n ce with the Act. Your servi cer c a n
            2011, or you receive a Direct Consoli dation Loa n based on a n
                                                                                                                      p rovide m o re i n formation a b o u t h o w prepayments are a p p l i e d .
            a p p l ication received o n or after Octo ber 1, 2 0 1 1 . H owever, y o u a re
            n ot considered to be a new borrower for the Pay As You E a rn P l a n if                                 When you h a v e r e p a i d yo ur lo an i n fu ll, you r servicer wi ll s e n d y o u a notice
            t h e Direct Conso l i d ation Loan you receive repays loans that would                                   telling you that you have paid off you r loan. You should keep this n otice in a
            m a ke you i n e l igible under part 1 of th i s d efi n ition.                                           safe place.
     I n a d d ition to being a new borrower, to i n it i a l ly q u a l ify fo r the Pay As You                      12. TRANSFER OF LOAN
     Earn Plan a n d to conti n u e to m a ke payments that a re based on your
     i n co m e, the a m o u nt you would be req u i red to pay o n your eligi b l e student                          We may tra n sfer the servi cing of one o r a l l of your loans to another servi cer
                                                                                                                      without you r consent. If there is a c h a nge i n the a d d ress to which you m u st
     loans u n d e r the Pay As You Earn P l a n (as d escribed a bove) m ust be less tha n
                                                                                                                      send payments or d i rect com m u n ications, we w i l l n otify you of the new
     the a m o u nt you would h a ve to pa y u n d e r the Sta n d a rd Repayment P l a n . If
                                                                                                                      service r's n a m e, a d d ress and tel e p h o n e n u m b e r, the effective date of the
     yo u r Pay As You E a rn Plan payment a m o u nt is less tha n the a m o u nt you
     would have to pay under the Sta n d a rd Repayment P l a n, you a re considered                                  tra n sfe r, and the date when you m u st begin sending payments or d i recting
                                                                                                                      commun ications to that servicer. Transfe r of a loan to a d ifferent servicer
     to h ave a "partial fi n a n c i a l h a rdship."
                                                                                                                      does not affect your rights and responsibilities u n d e r that loan.
     If you a re m a rried a n d fi l e a joi nt federal i ncome tax retu rn, the lo a n
                                                                                                                      13. LATE CHARGES AN D COLLECTI O N COSTS
     a mo u nt we us e to d eterm i n e whether you have a parti a l fi n a n ci a l h a rd s h i p
     w ill i n c l u d e your eligible loans and yo u r spouse's eligible loans.                                      If you do n ot m a ke any part of a paym e nt with i n 3 0 d ays after it is d ue, we
     W h i l e you a re repaying u n d e r t h e Pay As You E a rn P l a n, you m ust a n n ua l ly                   may req u i re you to pay a late charge. This charge w i l l not be more than six
                                                                                                                      cents fo r each d o l l a r of each late payment. If you do not m a ke payments as
     p rovid e documentation of you r income and ce rtify your fa m i ly size so that
     we may determine whether you conti n u e to have a partia l fi n a n c i a l                                     scheduled, we may a lso req u i re you to pay other charges a n d fees i nvolved
                                                                                                                      i n col l e cting your loan.
     hardship. Your monthly payment a m o u nt may be a dj u sted a n n u a l ly based
     on the updated income and fa m i ly size i nformation that you p rovi de . lf we                                 1 4 . D E M A N D FOR I M M EDIATE REPAYMENT
     d etermine that you n o l o nger have a p a rtial fi n a n c i a l h a rd s h i p, you may
     re m a i n o n the Pay As You Earn Plan, but your monthly payment will no                                        The entire unpaid a m o u nt of your l o a n becomes d u e a n d payab le (this is
     longer be based o n your i n come. I n stead, your monthly payment will be                                       called "acce leration") if you :
     what you wou l d b e req u i red to pay under the Sta n d a rd Repayment Plan,                                          M a ke a fa lse statement that ca uses you to receive a loan that you are
     based o n the a m o u nt you owed o n your eligible loans at the t i m e you                                            n ot eligible to receive; o r
     entered the Pay As You E a rn Plan.                                                                                     Defa u lt o n y o u r loan.
     Under the Pay As You Earn Plan, if your l o a n is not rep a i d i n fu l l after you                            15. DEFA U LTING ON Y O U R LOAN
     have m a d e the e q u ivalent of 20 years of q u a l ifying m o nthly payments and
     at least 20 years h ave e l a psed, a ny re m a i n i n g lo a n a m o u nt wi ll be forgive n .                 Defa u lt (fa i l i ng to repay your loan) is d efi n e d in deta i l under "Acceleration
     Y o u m ay have to p a y fed e ra l income t a x o n the l o a n a mount t h a t is                              and Defa u lt" i n the Note Te rms and Conditions section of this Note. If you
     forgive n .                                                                                                      d efault:

     Additional repayment plan information                                                                                   We w i l l req u i re you to i m med iately repay t h e entire u n p a i d a mount of
                                                                                                                             your l o a n . (
     If you can show to o u r satisfaction that the terms a n d conditions of the
                                                                                                                             We may sue you, take a l l or p a rt of your federa l a n d state tax refu n d s
     repayment plans d escribed above a re n ot a d e q u ate to m e et your
                                                                                                                             a n d oth e r f e d e r a l or state payments, a n d/or g a r n i s h y o u r w a g e s s o
     except i o n a l circu mstance s, we may p rovi d e you with a n a ltern ative
                                                                                                                             that your e m p l oyer is required to send u s p a rt of you r sala ry to pay off
     repayment p l a n .
                                                                                                                             your l o a n .
     If y o u d o not choose a repayment p l a n , we wi ll p l a c e y o u o n the Sta ndard                                We wil l req u i re y o u t o pay reaso n a b l e collection fees and costs, plus
     Repayment P l a n .                                                                                                     court costs a n d attorney fees.
                                                                                                                             You w i l l lose eligibility for oth e r federal stu d e nt aid and assista nce
     Y o u may cha nge repaym e nt plans at a ny ti m e after y o u h a ve begun                                             u n d e r m ost federal ben efit p rogra ms.
     repaying your loan. There i s no pena lty if you m a ke lo a n payments before
                                                                                                                             You w ill lose e l igibility for loan deferments.
     they a re d ue, or pay more th an the a mount d u e each m o nth ( p repayments).
                                                                                                                      We w ill report your defa u lt to nationwide cons u m e r reporti ng agencies (see
     We a p p ly your payme nts made under a ny plan oth e r tha n t h e IBR Plan a n d
                                                                                                                      Item 1 6 ) . This wil l h a rm you r credit history a n d may m a ke it diffi cult for you
     t h e Pay A s Y o u E a r n P l a n i n t h e fol l owing order:
                                                                                                                      to o bta i n credit cards, home o r car loa ns, o r oth e r forms of consu m e r cred it.
     1.     Late charges and c o l l ectio n costs,
                                                                                                                      16. CONSU M E R REPORTING AGENCY N OTI F I CATI O N
     2.     O utsta n d i n g i nte rest, and
     3.     O utsta n d i n g princi p a l .                                                                          We wi ll report i nfo rmation a bout yo u r loan to nationwide cons u m e r
                                                                                                                      re port ing agencies (commonly k n o w n as "credit b u rea us") on a regul a r
     We a p p ly you r payme nts m a d e u n d e r t h e I BR P l a n o r the P a y As Y o u E a r n
                                                                                                                      basis. This information w i l l i n cl u d e the d i s b u rsem ent d ates, a m o u nt, a n d
     P l a n i n the fo llowing order:
                                                                                                                      repayment statu s of your loa n (for exa m p l e, w h ether y o u are cu rrent or
     1.     O utsta n d i n g i nte rest,                                                                             d e l i n q uent i n m a ki n g paym e nts). Your loan w i l l b e i d entified as an
                                                                                                                      e d u cation l oa n .
                                                                                                S U B M I T PAGES1 THROUGH 5
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     BORROWER'S RIG HTS AN D RESPONSI BI LITIES STATEM E NT


     If you defa u lt on a loan, we wi l l report this to n ationwide cons u m e r                                  If y o u r servicer p rocesses a d efe rment b a s e d o n i nformation received from
     report in g agencies. We w i l l notify you at least 3 0 d ays i n a d v a n c e that w e                      your school, you will be notified of the deferment and w i l l h ave the option
     p l a n to report defa ult i nformati o n to a consumer reporting agency u n l ess                             of canceling the deferment a n d conti n u i n g to m a ke payments on your l o a n .
     you resu m e m a king payments on the loan with in 30 d ays of the date of the
                                                                                                                    F o r a l l othe r deferments, you (or, f o r a deferment based on a ctive duty
     notice. You will be given a chance to ask for a review of t h e d e bt before we
                                                                                                                    m i l itary service or q u a l ifyi ng Nati o n a l G u a r d d uty during a w a r or other
     report it.
                                                                                                                    m i l itary operation o r n ation a l emergency, a re p resentative a cting on you r
     If a consu m e r reporting agency contacts us regard i n g obj ecti ons you have                               beha lf) m u st submit a deferment requ est t o your servicer, a l ong with
     raised a bout the a ccu racy or co m p l eteness of a ny information we have                                   docum entation of yo u r eligi b i l ity for the deferm ent. In certa i n
     reported, we a re req u i red to p rovide the agency with a prompt response.                                   circu mstances, y o u m a y not be req ui red to provide docume ntation o f yo u r
                                                                                                                    eligibil ity if your servicer confirms that you h a ve been granted t h e same
     17. DEFERMENT AND FORBEARANCE ( POSTP O N I N G PAYMENTS)
                                                                                                                    d eferment fo r the s a m e period of tim e o n a F F E L P rogram loan. Your
     General                                                                                                        service r can provide you with a deferment requ est form that explains the
                                                                                                                    eligibility and documentation req uirements for the type of deferment you
     If you m eet certa i n req u i rements, you may receive a deferment that a l l ows                             a re requesting. You m ay also obta i n d eferment request fo rms and
     you to tem pora ri ly stop m a king payments on yo u r loa n .
                                                                                                                    information on d eferment e l igi bility req u i rem ents fro m you r servicer's web
     If y o u can not m a ke yo u r sched uled l o a n payments, b u t d o not q u a l ify for a                    site.
     d eferment, we may give you a forbeara nce. A forbeara nce a l l ows you to
                                                                                                                     If you a re i n d efa ult on you r l o a n, you a re not e l igible for a d eferment.
     tem porarily stop making payments on you r loan, tempora r i ly m a ke s m a l l e r
     payme nts, or extend the time f o r m a king payments.                                                         You a re not responsible for paying the i nterest on a D i rect S u bsidized
                                                                                                                    Consolidation Loan d u ring a period of d eferme nt, except as exp l a i ned in
     Deferment
                                                                                                                    Item 9 of this Borrowe r's Rights a n d Respo nsibil ities Statement. H owever,
     You m ay receive a d eferment:                                                                                 you are responsible for payi ng the interest on a Di rect U nsu bsidized
                                                                                                                    Consolidation Loan d u ring a period of deferment.
     •     W h i l e you a re e n rolled at least h a lf time at an eligi b l e school;
           While you a re i n a fu ll ti me cou rse of study in a gra d u ate fel l owsh i p                         Forbearance
           p rogra m;                                                                                                We m ay give you a forbeara n ce if you a re tem porarily u n a b l e to m a ke your
           W h i l e you a re i n a n a p p roved ful l ti m e reh a b i l itation p rogra m for                     sch eduled loan payme nts for reasons i n c l u d i ng, but not lim ited to, fi nancial
           i n d ividuals with d i s a b i l ities;                                                                  h a rd s h i p a n d i l l n ess.
           While you a re u n e m pl oyed (for a maxi m u m of three yea rs; you m ust
           be d i ligently seeking, but u n a b l e to fi nd, ful l ti m e e m ployment);                            We wil l give you a fo rbearance if:
           While you a re experiencing a n eco n o m i c h a rd s h i p ( i n c l u d i n g Peace                             You a re servi ng i n a med ical o r dental i nternship or residency program,
           Corps servi ce), as defi ned i n the Act (for a maximum of three yea rs);                                          and you m eet specific requirem ents;
           W h i l e you a re serving on a ctive duty d u ring a war or other m i l itary                                     The total a m ount you owe each month for all of the student loans you
           operation or nati o n a l eme rgency or performing q u a l ifying N ational                                        received u n d e r Title IV of the Act ( D i rect Loan P rogra m loa ns, FFEL
           G u a rd d uty d u ring a war or other m i l itary operation o r national                                          P rogra m loa ns, a n d Federal Perkins Loa ns) is 20% or more of you r tota l
           e m e rgency a n d, if you were se rvi ng o n o r after October 1, 2007, for a n                                   month ly gross i n come (fo r a maxi m u m of three years);
           a d d itional 180-day period fol lowing t h e demobi lization d ate for your                                       You are servi ng i n a national service position for which you receive a
           q u a l ifying service; or                                                                                         natio n a l service education award u n d e r the National a n d Comm u n ity
           If you a re a member of the National G u a rd or oth e r reserve                                                   Service Act of 1993. I n some cases, the i nterest that a ccrues on a
           component of the U . S . Armed Forces (cu rrent o r reti red) and you a re                                         q u a l ified loan d u ri ng t h e service period w i l l be paid by the Corporation
           c a l l ed or ordered to a ctive duty w h i l e you a re e n rolled at l east h a lf                               for National and Co m m u n ity Service;
           t i me at an eligible school or with i n 6 months of having been e n rolled                                        You a re performing service that wou l d q u a l ify you fo r loan forgive ness
           at least half ti me, d u ring the 13 months fo llowing the conclusion of                                           u n d e r the Teacher Loa n Forgiveness p rogra m that is ava i l a b l e to
           your active d uty se rvice, or until you return to enrolled student status                                         certa i n D i rect Loan a n d FF E L program borrowers;
           o n at least a half ti m e basis, whichever is earlier.                                                            You q u a lify for partial repayment of your loans u n d e r a student loan
     You may be eligible to receive a d d iti o n a l deferments if, at the time you                                          repayment program a d m i n istered by the Department of Defense; or
     received you r fi rst Di rect Loan, you h a d a n outsta nding balance on a loan                                •        You are called to active d uty in the U .S . Armed Forces.
     m a d e under the F F E L P rogra m before J u ly 1, 1 9 9 3 . If you meet this
                                                                                                                     To requ est a fo rbearance, contact your servicer. Your servi cer can expl a i n
     req u i re ment, contact you r servicer a bout a d d it i o n a l deferments that may
                                                                                                                     the eligibility a n d docum entation req u i rem ents f o r the type o f forbearance
     be ava i l a b l e .
                                                                                                                     you a re requ esti ng. You may also obta in information on fo rbearance
     You m ay receive a d eferment b a s e d o n your e n ro l l ment i n s c h o o l on at least                    eligibility req uirem ents from your servicer's web site.
     a h a lf time basis if:
                                                                                                                      Under certa i n circumstances, we may a lso give you a fo rbea ra n ce without
     1.    Y o u submit a deferment req uest t o your servi cer a l o n g with                                       req u i ring you to s u b m it a requ est or docume ntatio n . These ci rcu msta n ces
           documentation of your e ligi b i l ity for the deferme nt, or                                             i n c l u d e, but a re not l i m ited to, the fo l lowing:
     2.    Your servicer receives information fro m the school you a re atten d i n g
                                                                                                                                  Periods n ecessa ry for u s to determine your e l igibi l ity fo r a loan
           that i n d icates you a re e n rolled at least h a lf t i m e .
                                                                                                                                  discharge;


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     BORROWER'S RIG HTS A N D RESPONSI B I LITIES STATEMENT


           A period of u p to 60 d ays i n order for us to coll ect a n d process                                          (after Octo ber 1, 2007) under certa i n repayment plans while you are
           documentation related to your req uest for a d eferme nt, fo rbearance,                                         e m p l oyed ful l-ti m e in certa i n public service jobs.
           cha nge in repaym ent plan, or consolidation loan (we do not capitalize
                                                                                                                           Additional loan discharge information
           the inte rest that is charged d u ring this period); o r
           P e r i o d s when y o u a re i nvolved i n a m i l itary mobil ization, o r a local o r                        The Act may provi de for cert a i n loan forgiveness or repayment benefits o n
           national emergency.                                                                                             yo u r l o a n s i n a d d ition t o the ben efits described a bove . If other forgive ness
                                                                                                                           or repayment options become ava i l a b l e, your servicer w ill p rovide
     You are responsible for payi ng the i nterest that accrues on you r enti re
                                                                                                                           information about these ben efits.
     Di rect Consolidation Loa n d u ring a period of forbearance.
                                                                                                                           For a disch a rge ba sed o n yo u r death or the death of the child on whose
     18. DISCHARGE ( HAVIN G YOU R LOAN FORGIVEN)
                                                                                                                           behalf you obta ined a D i rect PLUS Loa n or Federa l PLUS Loa n that was
     Loan discharge due to death, bankruptcy, total and permanent disability,                                              consolid ated, a fa m i ly member m u st contact your loan servicer. To req u est
     school closure, false certification, identity theft, or unpaid refund                                                 a loan discharge based on one of the other conditions described above
                                                                                                                           (except for a discharge due to ban kru ptcy), you m ust complete a n
     We w i l l discharge (forgive) yo u r loan if:
                                                                                                                           a pp licati o n . Yo u r servicer can tell you h o w t o obtai n a n a p p l i cation.
           You die. Your servicer m u st receive a ccepta ble docu mentation (as                                           I n some cases, you may asse rt, as a defe nse against col lection of you r loan,
           d efi ned i n the Act) of you r death. We will a l so d ischarge the porti on of                                that the school d i d something wrong or fa i l e d to d o something that it
           a D i rect Consolidation Loa n that repa i d one o r more D i rect PLUS Loans                                   should have done. You can m a ke such a defense aga i n st repayment o n ly if
           o r Federal PLUS Loa ns obta i ned o n b e h a lf of a child who d ies.                                         the school's a ct or om ission d i rectly relates to your loan or to the
           Your l oan is discharged i n ban kruptcy after you h ave proven to the                                          educatio n a l services that the loan was i ntended to pay for, and if what the
           b a n kruptcy court that repaying the l o a n would cause undue h a rdsh i p .                                  school d i d o r d i d not d o wou l d give rise to a legal cause of acti on against t h e
           Di rect L o a n s a re not otherwise a utomatica l ly discharged if y o u fi l e for                            school u n d e r a p p l i c a b l e state l a w . If y o u beli eve t h a t you h a v e a defense
           b a n kruptcy.                                                                                                  against repayment of your loan, contact your servicer.
     •     You become tota lly a n d perma nently disabled (as defi n ed i n the Act)
           and meet certa i n oth er req u i rem e nts.                                                                    We d o not guara ntee the q u a l ity of the academic progra ms provi ded by
                                                                                                                           schools that p a rtici pate in federal student fi n a n c i a l a i d progra ms. You m u st
     I n certain cases, we may a lso discharge a l l or a portion of yo u r loan if:                                       repay your lo an even if you do not complete your e d u cation, a re unable to
            One o r m o re D i rect Loan P rogram, FFEL P rogram, or Federal Perkins                                       obta i n e m ploym ent i n the fie l d of study for which the school provided
            Loan P rogra m loans that you consolid ated was used to pay for a                                              tra i n i ng, o r a re d issati sfied with, or d o not receive, the e d u cation you pai d
            p rogra m of study that you (or the c h i l d fo r whom you borrowed a                                         fo r w it h t h e l o a n .
            Di rect PLUS Loa n or Federal PLUS Loa n) were u n a b l e to complete                                         19. DEPARTM E N T OF DEFENSE AND OTH ER FEDERAL AG ENCY LOAN
            because the school closed;                                                                                     REPAYM ENT
            Your eligibi lity ( o r t h e e l i g i b i l ity of the child for whom you borrowed a
            D i rect PLUS Loa n or Federal PLUS Loa n ) for o n e or more of the D i rect                                  Under certa i n circumsta nces, m i lita ry personnel may have their federal
            Loan Progra m o r F F E L Program loans that you consolidated was fa lsely                                     e d u cation loans re p aid by the Secreta ry of Defense. This benefit is offered
            certified by the school;                                                                                       as p a rt of a recruitment program that does not a p p ly to i n d ivid u a l s based
            Your eligi bility fo r o n e or more of the Di rect Loan Progra m or FFEL                                      on their previous m i litary service or to those who a re n ot e l igi ble for
            P rogra m loans that you consolid ated was fa lsely certified a s a result of                                  e n l istment i n the U .S . Armed Forces. For more i nformation, contact you r
            a crime of ide ntity th eft; or                                                                                local m i l itary service recruitment offi ce.
            The school d i d not pay a req u i red refu n d of o n e or more D i rect Loan                                 Oth e r agencies of the federa l govern ment may also offer student loan
            P rogra m or F FEL P rogram loans that you consolidated.                                                       repayment progra ms as an i n centive to recruit and retai n em ployees.
     Teacher Loan Forgiveness
                                                                                                                           Contact the agency' s h u man resources department for more i nfo rmati o n .

                                                                                                                           END O F B ORRO WER'S RIGHTS AND RESPONSIBILITIES STATEMENT
     We may forgive a portion of your Di rect Consolidation Loan that re paid
     D i rect S u bsidized Loans or Di rect U ns u bsidized Loans you received after
     October 1, 1998, o r s u bsid ized or u n s u bsidized Federal Stafford Loa n s you
     received under the FFEL p rogra m after Octo ber 1, 1998 if you :

     •      Teach fu l l t im e for five consecutive years n certa i n l ow i ncome
            elementary o r secondary schoo ls, o r for low income e d u catio n a l
            service agencies;
     •      M eet ce rta i n other q u a l ifications; a n d
     •      Did n ot owe a D i rect Loa n or a F FE L p rogra m lo a n as of Octob e r 1,
            1998, or as of the d ate you obtain a l o a n after Octo ber 1, 1998.

     Public Service Loan Forgiveness

     A P u b l i c Service Loa n Forgiveness progra m is a lso ava i l a b l e . U nd e r thi s
     p rogra m, we w i l l forgive t h e re m a i n i n g b a l a nce d u e o n your eligible D i rect
     Loan P rogra m loans after you have m a d e 120 payments on those loans


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 I    •

      Borrower N ame        D a r_
                            _
                              _
                                   lle M T
                                 re_       h o m ps on
                                       ____�_____             ___           ____                 Borrower SS N
     S ECTI O N 4A: MARITAL STATUS I N FO RMATION
      7.   What is yo u r marital status?                                            9.     P rovide the fol l owing i nformati on about your
                                                                                            s pouse and then conti n u e to Item 1 0 :
           D   S i n g l e - Skip to Item 1 1 .
                                                                                            a.     S pouse's S S N
           D   Married - Conti nue to Item 8 .
                                                                                            b.     S pouse's Name
           D   Marri ed , but separated - Y o u wi l l be treated a s
               s i n g l e . Skip t o I t e m 1 1 .                                         c.     S pouse's Date o f Birth
           [Z] Marri ed , but cannot reasonably access my spouse's                   1 0. When you fi led your last federal i ncome tax return,
               i ncome i nformation - You wi l l be treated as s i ng le .                d i d you fi l e jointly with yo u r spouse?
               Skip t o Ite m 1 1 .                                                         D      Yes - Conti n u e to Item 1 3 .
      8.   D o e s y o u r spouse have federa l stu dent loans?
                                                                                            D      N o - Skip to Item 1 7 .
           D   Yes - Conti nue to Item 9.
           D   N o - Skip to Item 1 0 .
     S ECTI O N 4 B : I N C O M E I N FO RMATION FOR S I N G LE BO RROWERS A N D MARRI E D B O RROW ERS TREATED AS S I N G L E
      1 1 . H as y o u r i ncome s i g n ificantly changed s i nce you               1 2 . D o yo u cu rre ntly have taxable i ncome?
            fi led yo u r last federal income tax return?                                      C heck " N o" if you do not h ave any i n come or
                 For example, h ave you lost your job, experienced                         receive only u ntaxed i ncome .
            a d rop i n i n come, or g otten d ivorced , or d i d you most                  [Z] Yes - Provi d e docu mentati on of your i n come as
            rece ntly fi l e a joint return with your spou se, but yo u                         instru cted i n Section 5 . Skip to that Section .
            h ave since become separated or lost the abil ity to
            access your spou se's i n come information?                                     D     N o - You are n ot req u i red to provide
                                                                                                  documentation of you r i n come. Skip to S ection 6.
           [Z] Yes - Conti nue to Item 1 2 .
           D   N o - Provide you r most recent federa l i ncome tax                         N ote: Remember, any person who makes a
               retu rn or transcri pt. Skip to S ection 6 .                                 knowingly false statement or misreprese ntation or)
                                                                                            this form may be subject to fi nes, i mprison m ent, or
           D   I h aven't fi led a fed eral i ncome tax retu rn i n t h e l ast             both.
               two years - Conti n u e to Item 1 2 .
     S ECTI O N 4C: I N C O M E I N FO RMATION FOR MARRI E D BORROWERS F I L I N G J O I N TLY
      1 3 . Has yo u r i ncome s i g n ificantl y changed s i nce you                1 5. Do you cu rre ntly have taxable i ncome?
            fi led yo u r l ast federal i ncome tax return?                                  Check "No" if you have n o taxable i ncome or
                 For example, h ave you l ost you r job or experienced                    receive only u ntaxed i ncom e .
            a d r o p i n i n come?
                                                                                            D      Yes - You must provide documentation of you r
           D    Y e s - Skip t o Item 1 5 .                                                        i n come accord i n g to the instructions i n Section 5 .
                                                                                                   Conti n u e t o Item 1 6 .
           D    N o - Conti nue t o Item 1 4 .
           D    We haven't fi led a federa l i n come tax return i n the                    D      No - You are n ot req u i red to provid e
                                                                                                   documentati on o f you r i n come. Conti n u e t o Item
                l ast two years - Skip to Item 1 5 .
                                                                                                   1 6.
      1 4. Has yo u r spouse's i n come s ig n ifi cantly chan ged
           s i nce your s pouse fi led his or her last federa l                      1 6. Does your spouse cu rrently have taxable income?
                                                                                              Check "No" if you r spouse has no taxable i n come
           income tax return?
                                                                                          or receives o n ly u ntaxed i n come.
                For example, has you r spouse l ost his or her job or
           experienced a d rop in i n come?                                                 D      Yes - S ki p to Section 5 and provide docu mentation
                                                                                                   of your s pouse's i ncome as instru cted i n that
           D    Yes - Conti n u e to Item 1 5 .
                                                                                                   secti on .
           D    N o - Provide you r and you r spouse's most recent
                                                                                            D      N o - You are n ot req u i red to provi d e
                federal i n come tax retu rn or transcri pt. Skip to
                                                                                                   d ocu m entatio n o f y o u r spouse's i n c o m e . If you
                Section 6.
                                                                                                   selected "Yes" to Item 1 5 , ski p to Section 5 and
                                                                                                   document you r i ncome. If you sel ected " N o" to
                                                                                                   Item 1 5 , skip to Section 6 .



                                                                                                                 -1
                                              Remember, any person w h o knowingly makes a false ,       •
                                              statement or misrepresentation on this form can b e subfect t9
                                              penalties i ncluding fin es, imprisonment, or both.




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      Borrower Name       oa r re_                  n
                                 l le M T h o m ps o_                                          Borrower SSN
                           __ _____'----_ __            __________
     S ECTIO N 4D: I N C O M E I N FO RMATION FOR MARRI ED BO RROW E RS F I L I N G S E PARATE LY
      1 7. H as yo u r i n come s ig n ificantly chan ged s i nce you               1 9 . Has yo u r s pouse's i ncome s ig n ificantly changed
           fi led you r l ast federal i ncome tax return?                                 s i nce yo u r spouse fi led his or her last federal
                For exa m p l e , have you lost your job or experienced                   i n come tax return?
           a d rop i n i n come?                                                               For example, has you r spouse lost a job or
                                                                                          experienced a drop in i n come?
          D     Yes _ Continue to Item 1 8 .
          D     No - Provide your most recent federal i n come tax                         D    Yes - Continue to Ltem 20.
                return or transcri pt. Skip to Item 1 9 .                                  D    N o - P rovide your spouse's most recent federal
          D     I haven't fi led a federa l i ncome tax retu rn i n the                         i ncome tax return or transcri pt. This i nformati o n
                past two years - Conti n u e to Item 1 8 .                                      wi l l only be u s e d if y o u are on or placed on the
                                                                                                RE PAYE Plan. Skip to Section 6.
      1 8 . Do you c u rre ntly have taxable i ncome?
               Check "No" i f you h ave n o taxable i ncome or                             D     My spouse hasn't fi led a federal income tax return
            receive only u ntaxed i ncome. After answeri n g ,                                   i n the past two yea rs - Conti n u e to Item 2 0 .
            conti n u e t o Item 1 9 .                                              2 0 . Does yo u r spouse cu rre ntly have taxable i ncome?
                                                                                              Check " N o " i f your spouse h a s no taxable income
          D     Yes - You m ust provid e documentation of you r
                i ncom e as instructed i n S ecti on 5 .                                  or receives o n ly untaxed i n come.

          0     No.                                                                        D     Yes - Skip to Section 5 and provide docu mentati on
                                                                                                 of you r s pouse's i n come as i n structed i n that
                                                                                                 section . This information wi l l only be used if you
                                                                                                 are o n or placed on the RE PAYE Plan.
                                                                                           D     N o - You are n ot req u i red to provide
                                                                                                 d ocu m entation of you r spouse's i ncome. If you
                                                                                                 selected "Yes" to Item 1 8 , ski p to Section 5 and
                                                                                                 document you r i ncome. If you selected " N o" to
                                                                                                 Item 1 8 , skip to Section 6 .

                                                                                           Note: Remember, a n y person w h o makes a knowingly
                                                                                           false statement or misrepresentation on this form may
                                                                                           be subject to fines, i mprisonment, or both .

     S ECTION 5: I N STRUCTIONS FOR D O C U M ENTI N G C U RRENT I N C O M E
     You o n l y n e e d t o fol l ow these i n stru cti ons if, based on you r answers i n Section 4 , you and you r spouse ( i f a p p l i cable) were
     instru cted to provi de documentatio n of your cu rrent i ncome i nstead of a tax return or tax transcript.
     This is the income you m u st document :
     •   You must p rovi de docu mentation of all taxa ble i ncome you a n d you r spouse(if appli cable) cu rrently receive .
     •   Taxabl e i n come includes, for example, i n come from employment, unemployment incom e , dividend i n come , interest
         i n come, ti ps, and a l i mony.
     •   Do not provide docu mentati on of u ntaxed i ncome such as S u p p l e mental Security I n come, child sup port, or federal or
         state p u b l i c assistance.
     This is how yo u document yo u r i ncom e :
     •   Documentati on will usually i nclude a pay stu b or l etter from you r employer l i sti n g your g ross pay.

     •   Write on you r documentation h ow often you receive the i n come, for exa m p l e , "twice per month" or "every other week."

     •   You m ust p rovide at l east one p iece of documentati on for each sou rce of taxable income .

     •   If documentation is n ot avai lable or you want to explain you r i n come, attach a signed statement expla i n i n g each sou rce
         of i n come and g ivi n g the n a m e a n d the address of each sou rce of i n come.
     •   The date o n a ny su pporti ng documentati on yo u provide m ust be no older than 90 d ays from the d ate you sig n
         this form .
     •   Copies of documentation a re acceptable.

     Afte r g atheri ng the ap propriate documentatio n , conti n u e to Section 6.

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      Borrower Name       D arrelle M Tho m p so n
                          _                                      _         _        __     Borrower SSN

     S E CTION 6: B ORROWE R REQU ESTS , U N D E RSTAN D I N G S , AUTHORIZATION, AND C ERTI FICATI O N
     If I am req uestin g a n i n come-d riven repayment plan or seeking to change income-d riven repayme nt plans, I req uest:
       • That my loan holder place me on the plan I selected i n Section 2 to repay my eligible Direct Loan or F F E L Program
         loans held by the holder to which I submit this form .
       • If I do not qualify for the plan or plans I req u ested, o r did not make a selection i n Item 2 , that my loan holder place
         me on the plan with the lowest monthly payment amou nt.
       • If I sel ected more than one p l a n , that my loan holder place me on the plan with the l owest monthly payment amount
         from the plans that I req ueste d .
       • If more t h a n one o f t h e p l a n s that I selected provides t h e s a m e initial payment amount, or i f my l o a n h o l d e r i s
         d eterm i n i n g wh ich o f t h e i n come-driven p l a n s I qual ify for, that m y l o a n holder use t h e fol l owi n g order i n choosing my
         p l a n : REPAYE (if my repayment period is 20 years), PAYE, RE PAYE (if my repayment period is 25 years), I BR, and
         then ICR.
        If I am not cu rrently on a n income-driven repayment plan, but I did not comp l ete Item 1 or I i ncorrectly indicated in Item
        1 that I was a l ready in an income-driven repayment p l a n , I request that my l oan holder treat my req uest as if I had
        indicated i n Item 1 that I wanted to e nter an income-d riven repayment p l a n .
       If I am currently repaying my Direct Loans under t h e I B R plan and I am requesting a change t o a d ifferent i n come­
       d riven plan , I req uest a one-month reduced-payment forbearance i n the amount of my current monthly I B R payment
       o r $5, whichever is g reater ( u n l ess I req uest another amount below or I decl ine the forbearance) , to help me move
       from I B R to the n ew income-driven plan I requested .
          D   I req uest a one-month reduced-payment forbearance i n the amount of:
              (m ust be at least $5).
     I u n d erstan d that:
        • If I do not provide my loan holder with this completed form and any other required documentation , I wil l n ot be placed
          on the plan that I requested or my req uest for recertification or recalculation wil l n ot be processed .
        • I may choose a different repayment plan for any loans that are not eligible for income-d riven repayment.
        • If I req uested a reduced-payment forbearance of l ess than $5 above , my loan holder wil l g rant my forbearance
          request i n the amount of $5.
        • If I am req uesting a change from the IBR Plan to a d ifferent income-d riven repayment p l a n , I m ay decl i ne the one­
          month red u ced payment forbearance descri bed above by contacti ng my loan holder. If I decl i n e the forbearance , I
          wil l be placed on the Standard Repayment Plan and must make one monthly payment under that plan before I can
          be placed on a d ifferent repayment p l a n .
        • If I am req u estin g t h e I C R p l a n , my i n itial payment a m o u n t wil l be the a m o u n t o f i nterest that accrues each month
          on my loan u ntil my loan holder receives the income documentation needed to calculate my payment amount. If I
          cannot afford the i n itial payment amount, I may req u est a forbearance by contacting my loan holder.
        • If I am married and I request the I C R p l a n , my spouse a n d I have the option of repayin g our D i rect Loans jointly
          under this plan . My loan servicer can provide me with i nformation about this opti o n .
        • If I have F F E L Program loans, m y spouse m a y be req u i red t o g ive my l o a n holder access t o his or h e r loan
          i nformation i n the N ational Student Loan Data System (NSLDS). If this applies to me, my loan holder will contact me
          with instructions.
        • My loan holder may g rant me a forbearance whi l e p rocessing my application or to cover any period of delinq uency
          that exists when I submit my appl ication .
        I authorize the l oan holder to which I submit this req uest (and its agents or contractors) to contact me regarding my
        req uest or my loans, including the repayment of my loans, at any n u mber that I provide on this form or any future
        number that I provid e for my cel l u l a r telephone or othe r wireless device using automated d i a l i n g equipment or artificial
        or prerecorded voice or text messages .
        I certify that a l l of the i nformation I have provided o n this form and i n any accompanying documentation is true,
        comp lete , and correct to the best of my knowledge and belief.
      Borrower's S i g nature Darre l l e M Thompson                                                     Date 02/1 3/20 1 8
     S pouse's S i g n ature                                                                             Date
      If you are married, you r spouse is req u i red to s i g n this form u n l ess you are separated from you r spouse
      or you're u nable to reasonably access your spouse's i n come i nformation.
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                                                         FB              FORBEAR..1\NCE     1 2.'ffl /201 7




     ----- Forwarded M essage -----

     F rom : "i nfo@aretefi nancialfreedom .com" < i nfo@aretefi n ancialfreedom .com>

     To: "Redacted         @yahoo .com" <Redacted             @yahoo .com>

     Sent: Wednesday, December 2 6 , 2 0 1 8 , 9 :02 :53 AM PST

     Subject: Cancel l ation Confirmation For Darrelle Thompson - # 1 74858275




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